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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION

IN RE
CASE NO. 18-30849
BENDCO, INC. (Chapter ll)

DEBTOR

COJC¢O'JFOOC€O

OMNIPOTECH LTD’S MOTION FOR
R`ELIEF FROM THE STAY
REGARDING NONEXEMPT PROPERTY

 

TI-IIS IS A MOTION FOR RELIEF FROM THE AUTOMATIC STAY. IF IT IS
GRANTED THE MOVANT MAY ACT OUTSIDE OF THE BANKRUPTCY PROCESS.
IF YOU DO NOT WANT THE STAY LIFTED, IMMEDIATELY CONTACT THE
MOVING PARTY TO SETTLE. IF YOU CANNOT SETTLE, YOU MUST FILE A
RESPONSE AND SEND A COPY TO THE MOVING PARTY AT LEAST 7 DAYS
BEFORE THE HEARING. IF YOU CANNOT SETTLE, YOU MUST ATTEND THE
I'[EARING. EVIDENCE MAY BE OFFERED AT THE HEARING ANI) THE COURT
MAY RULE.

REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEY.
THERE WILL BE A HEAIRNG ON THIS MA'I`TER ON MAY 31, 2018 AT 2:00 P.M. IN

COURTROOM 400, UNITED STATES COURT I-IOUSE, 515 RUSK AVENUE,
HOUSTON, TEXAS 77002

 

 

 

l. This motion requests an order from the Bankruptcy Court authorizing OMNTPOTECH, Ltd
(“OMNTPOTECI-I”) filing this to repossess certain equipment purchased by Bendco Which
is subject to Omnipotech’s purchase money security agreement as set forth in Paragraph 3
below. OMNIPOTECH also seeks relief to pick up certain equipment that Debtor is using
in connection With its computer infrastructure that OMNIPOTECH owns as Set forth in
Paragraph 4 below. OMN[POTECH also seeks relief from stay to terminate the master
services agreement, and the Network Service Level Agreement as further set forth in
Paragraph 5 beloW.

2. Movant is OMNIPOTECH, Ltd.

3. Movant, directly or as agent for the holder, holds a purchase money security interest in
certain personal property consisting oft

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INFRASTRUCTURE:

l NETGEAR GS748TP 48 pt GB Smart Switch w/PoE (power over Ethernet)

1 Dell T430 Server with 5YR 24X7 Warranty, 4XlTB SSD drives with hot spare and
Vmware vSphere Essentials kit

l EATON PW9130L1500T-XL lSOOVA/ 1350W Tower UPS lZOV NEMA
5-15EATON PW913OL1500T-XL lSOOVA/lS 50W Tower UPS 120V NEMA 5-15

l Double Conversion Online UPS for Phone Systems, Firewalls, Switches and Servers

PHONE EQUIPMENT:

15 Polycom VVX 410 PoE speakerphone without power adapter
- 12-line HD voice business media phone with a 3.5" color LCD display and dual
Gigabit RJ45 ports

l Polycom VVX Color Expansion Module for receptionist's VVX 410

3 Polycom power supplies for models VVX 300, 310, 400, 410 (5 pack)

These items are more particularly describe in the On Premises Infrastructure Project and
Services Order Form between Bendco and OMNIPOTECH (the “ lnfrastructure Services
Order Form”) and the Proj ect and Services Order Form for Bendco (“Services Order Form”).
True and correct copies of the Inf`rastructure Services Order Form and the Service Order
Form are attached hereto as Exhibit “A” and “B”.

Additionally, Debtor is in possession of certain equipment that is owned by OMNIP OTECH
that has been being used in connection With its infrastructure needs. These items consist of :

1 OMNIPOTECH Backup Appliance
Phone System Server
Spermicro Phone server hardware

Pursuant to the Services Order Form, these pieces of equipment remained in the ownership
of OMNIPOTECH. See EX. B.

Bendco also executed a Master Services Agreement (“MSA”) with OMNIPOTECH which
granted to Bendco a non-exclusive, license to use OMNIPOTECH’$ technology solely for
the purposes of using the services provided under the MSA. A true and correct copy of the
MSA is attached hereto as Exhibit “C”. Bendco also executed the NetWork Service Level
Agreement for Bendco, Inc. (The “Network Agreement”) under Which OMNIPOTECH
provides Bendco With service which consists of management and service of E-mail, Local
Area Networks, telephone systems, and Wireless Area Networks. Further, OMNIPOTECH
provides service for these Networks including but not limited to data service, back-up, and
security services to the network environment Bendco is required to pay the monthly charges
for the use of these licenses, network, back-up services, and security. A true and correct copy
of the Network Agreement is attached hereto as Exhibit “D.” Bendco has not paid

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OMNIPOTECH under the MSA and Network Agreement since lanuary 2017 and has not
made any post petition payments as is required.

Movant has reviewed the schedules filed in this case. The property described in Paragraph
3 is not claimed as exempt by the debtor.

Type of collateral: Personal Property
Debtor’s value of the property: ‘36900.00l
Movant’s estimated value of property: $ 16,692.83

Total amount owed to Movant: a. $19,741.00 (for Equiprnent under Paragraph?i
above)

b. $61,710.51 as of 4/4/ 1 8 (for monthly services
under Paragraph 4 above)

Estimated equity: None
Total pre and post petition arrearage:

a. $16,624.00 (for Equipment under Paragraph 3 above from Jan. 10, 2017 - April 28,
2018)

b. $61,710.51 as of 4/4/ l 8 (for monthly services under Paragraph 4 above from lanuary
10, 2017 to April 10, 2018

Total post-petition arrearage:

a. $2,0'78.00 (for Equipment under Paragraph 3 above for March 10, 2018 through
April 10, 20]8)

b. $8,189.96 (for monthly services under Paragraph 4 above from March 10, 2018 to
April 10, 2018)

Amount of unpaid, past due property taxes: Not applicable

Debtor’s payment histories are attached as Exhibit “C” in the form required by Local Rule
4001(a)(6).

Cause exists for the listing of the automatic stay for several reasons as shown beloW:

 

1Debtors schedules only listed the 15 Polycom phones. Movant’s estimate value of the

phones is 83,125.10. `

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17.

18.

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a. Debtor has not made post petition payments for either the Equipment or the Licenses
and Infrastructure support OMNIPOTECH must still pay its suppliers for such
licenses and is continuing to accrue more expenses Defendant’s were seriously past
due when the Chapter ll was filed. Debtor has not accepted or rejected the
executory contract Which would allow OMNIPOTECH to cancel the licenses,
security, back-up services, and infrastructure. Debtor has not made adequate
provisions in his proposed budget under the Order to Use Cash Collateral to provide

for payment to OMNIPOTECH.

b. The Property and services are not necessary for an effective reorganization

Based on the foregoing, Movant seeks termination of the automatic stay and co-debtor stay,
if applicable§ to allow Movant to repossess the property set forth in Paragraph 3 and 4 and

to terminate the MSA and Network Agreement.

Movant certifies that prior to filing this Motion, 1 had spoken to Debtor’s counsel at the
creditors meeting and over the telephone regarding his issue, and send him an email on
April 27, 2018 at 2:45 p.rn. enclosing a draft of the Motion and asking him if he Was
opposed. Debtor’s counsel has never responded to the email; therefore, Movant assumes

that Debtor is opposed to this Motion.
Date: May 3, 2018
Respectfully submitted;
LAW OFFICE OF MYNDE S. EISEN, P.C.

By: /s/ l\/lvnde S. Eisen
Mynde S. Eisen
State Bar No. 065 0395 0
Derek Loetzerich
State Bar No. 24102105
6546 Greatwood Parkway, Suite C
Sugar Land, Texas 77479
(281) 545-8600
(281) 631-3101 (facsimile)

Email: mynde@eisenlawoffice.com

ATTORNEYS FOR CREDITOR
OMNIPOTECH, LTD.

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CERTIFICATE OF SERVICE

I hereby certify that the foregoing Motion for Relief From The Stay has been served on all
parties in interest as listed below by depositing the same in the U.S. mail, regular mail, postage

prepaid on this 3rd day of l\/lay, 2018.

/s/

d¢.J.€J..J

Vnde S. Eisen

Mynde S. Eisen

DEBTOR

Bendco, Inc.
801 Houston Ave.
Pasadena, TX 77502

DEBTOR’S ATTORNEY

Richard L. Fuqua

Fuqua & Associates, PC
5005 Riverway, Suite 250
Houston, TX 77056

US TRUSTEE

U.S.'Trustee
515 Rusk Ave., Ste. 3516
Houston, TX 77002

SECURED CREDITORS

Ascentium Capital, LLC
23970 Highway 59 N.
Kingwood, TX 77339-1535

Bank of Arnerica, N.A.
P.O Box 660576
Dallas, Texas 75266~0576

Bank of America, N.A.
800 Market Street
St. Louis, MO 63101-2510

Citibank, N.A,
388 Greenwich Street
New York, NY 10013

Corporation Service Co. Of America
P.O. Box 2576
Springfield, lL 62708

Konica Minolta
21 146 Network Place
Chicago, IL 60673

Leaf Capital Funding, LLC
2005 Market Street, 14th Floor
Philadelphia, PA 19103

Susquehanna Comm Finance
2 County View Road, Ste 300
Malvern, PA 19355

TCF Equipment Finance
P.O. Box 77077
Minneapolis, MN 55480-7777

US Bancorp Equipment Finance
P.O. Box 790-413
St Louis, MO 63179-0413

Wells Fargo Bank, N.A.
300 Tri-State International #400
Lincolnshire, IL 60069

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UNSECURED CREDITORS:

TXU Energy
PO Box 650638
Dallas, TX 75265

CAN Capital Asset Servicing, Inc.
Fora Financial

242 W. 36th St.

New York, NY 10018

Bank of Arnerica
PO Box 660576
Dallas, TX 75266~0576

Knight Capital Funding ll
9 East Lockerman St #3A-543
Dover, DE 19001

G&A Partners
17220 Kary Fwy #350
Houston, TX 77094

Tech Induction
13129 23 Mile Road
Shelby Township, MI 48315

Tearn Industrial Services Inc.
PO Box 842233
Dallas, TX 75284-2233

TUV Rheinland Ind Solutions
PO Box 417532
Boston, MA 02241-7532

LB Foster Ball Winch
PO BoX 643343
Pittsburgh, PA 15264-3343

Ball Winch
15786 Hwy 75 North, #110948
Willis, TX 77378

Herc Rentals, Inc.
PO Box 650280
Dalias, TX 75265-0280

Great Westem Metals
14121 Gulf Freeway
Houston, TX 77034

IRIS NDT, Inc
1115 W. 41st St.
Tulsa, OK 74107

Accutest Labs
7821 Pinemont
I-Iouston, TX 77040

Adobe Equipment
7607 Wallisville Rd
Houston, TX 77020

Dixie Pipe Sales, LP
Dept #3 72

PO Box 4346

Houston, TX 77210-4346

Praxair
10 Riverview Dr.
Danbury, CT 06810

Omnipotech LTD
11422A Craighead Dr
Houston, TX 77025

Texas Pipe & Supply Co.
PO Box 301052
Dallas, TX 75303-1052

Fastway Freight Systems
PO Box 87644
Houston, 'l`X 77287-7644

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PARTIES REQUESTING NOTICE:

Mynde S. Eisen

Law Office of Mynde S. Eisen, P.C.
6546 Greatwood Parkway, Suite C
Sugar Land, Texas 77479

I-Iector Duran

Offlce of the US Trustee
515 Rusk Ave., Ste. 3516
Houston, 'l`X 77002

Harris County

c/o Tara L. Grundemeier
Linebarger Goggan Blair et al
PO BoX 3064

I-Iouston, TX 77002

J ay W. Hurst, Asst. Attorney General
c/o Sherri K. Simpson, Paralegal
Bankruptcy & Collections Div.

PO Box 12548

Austin, TX 78711-2548

BB&T Commercial Equipment Capital
c/o Alan B. Padfield

421 W. Third St., Ste. 910

Fort Worth, TX 76102

Susquehanna Commercial Finance, Inc.
c/o Alan B. Padfield

421 W. Third St., Ste. 910

Fort Worth, TX 76102

TCF Equipment c/o Teri I-I. Kelley
6750 West Loop S., Ste. 920
Bellaire, TX 77401

Richard A. Kincheloe

Assistant United States Attorney
1000 Louisiana, Ste. 2300
Houston, TX 77002

Palladian Publications
c/o William T. Peckham
1104 Nueces St., Ste. 104
Austin, TX 78701-2106

AmTrust Insurance Co of Kansas
Maurice Witscher, LLP

c/o Alan C. Hochheiser

2000 Auburn Drive, Ste. 200
Beachwood, OH 44122

San lacinto Community College District
c/o Daniel J. Snooks

11550 Fuqua, Suite 370

Houston, TX 77034

Jeremy M. J ones

Lam, Lynn & Phillip, P.C.
6213 Drive, Suite 2100
i-Iouston, Texas 7705 7

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On-Premises Infrastructure Project & Services Order Form Q"`"°'OMNIPOTECH
CLIENT, BENDCO INC

July 27, 2015 (Revision 1.4)

    
 

CREDiroR '- - -1

Bendco On-Prernises l_oca| Network and Phone System with Onsite Backup & Business emma

Continuity with Offsite Disaster Recovery and Faiiover Phone System
Domairr. bendco.com DHCP Scope: 192.168.0`0.01255.255.255.0

 
    

  

 

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NOTE: This order form will replace all other order forms upon execution.

 

 

 

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Project Summary
1) Replace on-premises infrastmcture for server and telecom environment with a scalable, resilient architecture which allows the organization

to grow, operate remotely, and secures data and telecommunications for disaster purposes

2) Telecom/Internet Circuit: The current Birch circuit for 81042."month (including taxes) will be cancelled by Client (aiter new system is
installed) and replaced with an AT&T/'ACC Business 10Mbps fiber (baseband internet) connection for $647 per month plus taxes on a
thirty»six (36) month agreement payable to AT&T. ACC is the small business division of AT&T created to compete directly with Comcast
and Birch. ACC had the lowest cost 10Mbps fiber of any provider which can service the Client’s location. The AT&T/ACC fiber circuit
will be used in coordination with the Comcast (broadband internet) service. This combination of Comcast broadband (high speed/low
reliability) with AT&T."ACC Business baseband (low speed/high reliability) provides internet access from two major telecom providers on
vastly different service platforms combined with redundant bandwidth. (See “Firewall” below for use of` each circuit).

3) Phone Lines, plus Fax and Other Analcg Lines: The analog lines for the fax machine and alarm system (and any other analog lines) will
be ported to either Comcast or AT&T - Client’s choice. Phone lines will be provided by Bandwidth.coni. We estimate the Bandwiddi.com
invoice will be $225 per month plus taxes. (See “Phone System Summary” below).

4) Virtualization: The server computing environment will be virtualized using VMware -the largest virtualization platform in the world.
Virtualization allows for a single piece of hardware to contain one or more operating systems The environment will contain three (3)
virtual servers on a Dell server designed to run VMware.

5) Server Hardware: The current server will be replaced The new server hardware will be a single-nude VMware server on Dell hardware.
Dell will provide the server with a five year 24 x 7 x 4 hour warranty with an optional two year extension (1isted below). The Dell server
will have five (5) OEM 1TB solid state drives (SSD) in a RAIDS+l design that allows for the failure of one drive with a hot-spare already

 

11422A Craighead Dr - Houston,TXT?OZS-SEOS ~ Phone: 281-768-4800 - Fax:281-76S~4810 l www.omnipotech.com ¢ Form 20150320 ¢ Pagei ofl4

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in the server. The SSD drives are warranted directly by Samsung for five years. The Dell server also has redundant power supplies and
supports boot-level remote access to allow troubleshooting and power-up by OMNIPOTECH without waiting for a technician to arrive
onsite (i.e., weekend or night time). The Dell server will have 64GB of RAM (maximum server capacity of 3S4GB) and sixteen (16) 2.5
inch hard drive hays allowing for future expandability without replacing the chassis. The server has two CPUs each with 8 cores of
processing for a total of 16 cores using Intel 151-2630 series of processorsl

Virtual Machine Servers: The three virtual scrvers will have the following names and roles:

a. BEN-DCI: This server will be the local domain controller providing Active Directory, DNS, DHCP, print server, and tile
sharing for the entire company. Shared drives can have individual folders assigned to specific groups for secure access The
server will support group policies intended to automate workstation and user setup according to the organization’s business
policies This server is backed-up hourly to the OMNl-Backup Appliance using full disk imaging software with incremental
copies between the hours of 6AM - QPM daily. The final nightly copy of the backup is sent offsite to our datacenter for disaster
recovery purposes each day.

b. BEN-SQL: This server will contain Microsoh SQL Server which is required to run JobBOSS database. This server will perform
no other role thereby ensuring its resources are dedicated to the JobBOSS database. Access to this server will be thru the
JobBOSS application only and no users will access this server directly to ensure data protection. This server is backed-up hourly
to the OMNl-Backup Appliance using full disk imaging software with incremental copies between the hours of 6AM - 9PM
daily. The final nightly copy of the backup is sent offsite to our datacenter for disaster recovery purposes each day.

` c. BEN-TSl: This server will be a terminal server only. A terminal server centralizes the installation and administration of all
applications for an organizationl A terminal server only contains applications and does not contain any of the Client’s data. This
server is backed-up after-hours nightly to the OMNI-Backup Appliance. The final weekly copy of the backup is sent offsite to
our datacenter for disaster recovery purposes weekly.

Computers: Afier the cut-over to the new terminal server and computing environment, each computer will be backed-up to the OMNI-
Backup Appliance, then reformatted with a new installation ofWindows. We will use the same operating system version the PC currently
had before the reformatting. By reformatting each eomputer, we will eliminate any PC specific variables which could either impact
performance or compromise security. Each system will be setup identically and modified for the user’s job role (specifically Donna, CAD,
and Kelly). Join ali Windows Pro computers in each location to the domain to allow centralized group policy management for permissions,
files, folders, and printer access This pricing reflects a maximum of fifteen (l 5) total desktop or laptop computers

Backup Appliance: The OMNI-Backup Appliance will continue to protect the current server through-out the project, as well as,\backup
the new virtual servers. Once the new environment goes live, the backup of the current server will stop, but its backup image will remain
on the OMN`l-Backup Appliance indefinitely or as space allows (not expected to be an issuc). OM`NIPOTECH will keep the final copy of`
the current server’s backup in our datacenter free of charge until January l, 2016. The backup image of the current server can also be
copied to USB media provided by the Client to be taken offsite according to their needs. The Appliance is owned by OMNIPOTECH and
all maintenance of the appliance’s hardware and software, plus monitoring of all backups of corresponding servers is included each month
in the current rates herein for the one SERVER. Disaster recovery testing can be performed according the Client’s needs according to the
Rate Schedule Agreement, but an initial test is included herein prior to hurricane season as part of this project.

Backup: Backup the server hourly to the OMNI-Backup Appliance. The Appliance can support up to four server operating systems in a
disaster recovery situation Backup solution uses full disk imaging software which also provides incremental hourly¢copies. A Windows 8
virtual machine running on the Appliance will be the backup management server named “BENDCO-BU. This backup methodology allows
for the recovery of the entire server, a single folder, file, or the JobBOSS database.

Business Continuity: In the event the primary server fails, a backup' image of` the SERVER can be restored from the backups located on
the OMNI- -Backup Appliance providing business continuity to the Company using a clone of the failed system.

Offsite Disaster Recovery: Each night, the daily SERVER backup will be copied to OMNIPOTECH’s Aurora Colorado datacenter This
design allows for the failure of both the primary and OMNl-Backup Appliance servers and still allows the SERVER to be restored to new
hardware in the event another failure occurs. This backup methodology allows for the recovery of the entire server, a single folder, file, or
the JobBOSS database from the offsite backup location. The datacenter facility is owned by SunGard and is certified SSAE|&. The
SSAE16 certification documents will be provided to the Client upon completion of the project for their compliance audits

Email: Email will be provided by a private Microsoft Exchange server on BEN-DCl with third-party email filtering with business
continuity. Micro soft Exchange is the largest email platform in the world and allows for the sharing of contacts and calendars, if desired,
for teams or between individuals lt will allow for automatic archiving of email based upon company policy and the archive is available
online from Outlool< on any PC or via a browser. Exchange integrates with Apple, Android and Windows smart phones for complete
synchronization of a user’s calendar, contacts, and email.

Email Security: OMNI-Email Security is provided outside the environment to prevent spain from entering BEN-DCI and consuming
space or risking infection from malware or viruscs. This design also protects the organization’s bandwidth and allows secure outbound
email relaying to ensure the Exchange server is riot blacklisted for sending email. OMNi-Email Security also allows for up to 60 days of
caching of email in the event the Exchange server is unavailable for any reason - power loss at site, down server, tropical storm, or emai].
Users can send/receive email via OMNI-Email Security portal when the server is offline to allow communication with customers, prospects

 

11422A Craighead Dr ¢ chstcn,TX77025-5808 ¢ Phone‘. 281-768-4800 l Fax:281-76S-48!0 l www.omnipotech.com ¢ Form 2015032{) ¢ Page2 of14

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and vendors When the Exchange server returns to operaticn, all cached email will be sent to the Exchange server automatically ensuring a
complete business continuity and security solution for the company’s email.
14) Firewall: Unless explicitly stated all inbound traffic from the Intemet to the network and outbound to the Intemet will be explicitly denied
except the following:
lnbound ports will only be opened to allow:
a. Email access only from email security service
Remote access to view the cameras
Phone calls to the phone system
Terminal server access
OMNI-Care Pro-Active Maintenance, OMNl-Care Monitoring Systems and remote management by OMNIPOTECH.

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Outbound ports will be opened to allow:
a. outbound email only from the mail server to the email security service

b. web browsing
c. OMNl-Care Pro-Active Maintenance & OMNI-Care Monitoring Systems
d. Phone calls from the phone system

The firewall will be configured to support two circuits to operate simultaneously: `
l. AT&T/ACC 1 _()Mbps Fiber Circuit Primary role will be inbound email, SlP trucking for phone system and access to the terminal

server. Secondary role will be web browsing and cameras
2. Comcast Ccax l§O/'ZOMbps Circuit: Primary role will be web browsing and cameras Secondary role will be inbound email, SIP
trucking for phone system and access to the terminal server.

15) Monitoring: Monitor the servers, firewall, and internet circuits’ availability to notify OMNIPTOECH and Client sc that all parties can
respond accordingly. The OMNl-Care agents will automatically open service tickets if any ofthe critical computing components are not
responding allowing for the Client and OMNIPOTECH employees to be alerted to potential issues

16) Pro-Active Maintenance: Maintain each system with current Microsoft schware security patches and enhancements plus monitor
devices logs to ensure adequate resources using OMNl-Care agents on each computing device to proactive maintenance thru an annual
subscription The agents perform scheduled maintenance of each system to ensure optimal hcalth, plus they provide an inventory of` the
computing environment allowing for better asset management and tracking. The agents also allow for immediate remote support by an
OMNlPOTECH engineer speeding remediation of system or user issues The patch status for systems ranges from missing 3-45 security
updates.

17) Uninterruptible Power Sup ply (UPS) - Battery Backup: lt has been mentioned on multiple occasions that the facility has power issues
Fluctuating electricity level stresses electronic devices and destroys data. We will use an Eaton Online Double Conversion UPS device to
protect the server, switch, firewall, and telecom router located in the server room. Online double conversion UPS devices take the
alternating current (AC) power from the wall and convert it tc direct current (DC) before reconverting it to pure sinusoidal AC current
which is always at the correct voltage and amperage.

18) Switches: The network switch located in the server room will be replaced with a 48 port smart switch capable of intelligent prioritization
of data. The switch also supports power-over-Ethernet (PoE) to provide electricity to wireless access points and all desktop Polycom
telephones

19) Security: Protect the servers and PCs with a singular security solution to prevent viruses, malware, spyware, and limit internet browsing
(by device) to websites authorized by the company’s security policy. This security subscription protects the data, but it also protects the
company by enforcing HR policy and ensuring a consistent, safe computing environmentl The URL browsing will be stricter in the
terminal servers than on the desktops to ensure quality of service and protect the datacenter assets

20) OMNI-Care Pro-Active Maintenance: Maintain each system with current Microsoft software security patches and enhancements plus
monitor devices 10 gs to ensure adequate resources using OMNl-Care agents on each computing device to proactive maintenance thru an
annual subscription The agents perform scheduled maintenance of each system to ensure optimal health, plus they provide an inventory of
the computing environment allowing for better asset management and tracking. The agents also allow for immediate remote support by an
OMNIPOTECH engineer speeding remediation of system cr user issues

21) Cel'l Phone and Tablets: Ccnfigure each user’s cell phone and other Client authorized mobile devices to receive Client email

22) Documentation: Document the final network design. Prepare template for annual “Data Protection and Availability Summary”.
Document to be completed upon request for internal and external compliance auditors

Phone System Summary
l) The phone system will be replaced providing SlP session-initiation protocol (SIP) trucking capability which is the term for telecom voice-

over-lP (VolP). .
2) The current Birch invoice is currently SlO42/month (inciuding taxes) and will be cancelled by the Client upon project completion as it will
no longer be needed. `

 

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3) The primary phone system will be located at Client’s corporate offices with a failover unit located in the OMNIPTOECH datacenter.
Client will own the Polycom handsets located on the desks OMNII’OTECH owns the software and the phone system “brains” located at
the office and in the datacenter.

4) The current Birch bill has nineteen (19) analog telephone lines which is an unusually high number of incoming lines (trunks) for a company
with only 15 administrative staff members in a non-call center environment We recommend the Client begin with no more than eight (8)
SIP telephone lines because more can be added within three business days, if needed. Fax and alarm lines will be ported to the Comcast
service and will remain analog in nature. FYI: OMNIPOTECH has 13 employees and has six (6) Bandwidth.com trunk lines

5) This specific quote assumes SIP trunks from Bandwidth.com that supports multi-site phone system (PBX) failover. SIP phone lines will be
provided by Bandwidth.com for $ZS/month per trunk and includes long-distance. Client will pay Bandwidth.com directly for phone lines

6) Due to the capability of Bandwidth.com SIP trunks, the on-premise phone system will have a failover system in the OMN`[POTECH
datacenter within our PBX cluster providing telephone redundancy in the event of a power disruption, hardware failure, intemet failure or
tropical storm/hurricane causes the onsite phone system to not be availabie. Once an interruption is detected, the primary PBX will be
unavailable and Bandwidth.com will route the calls to the failover PBX in our datacenter automatically (no user intervention required).
The phone numbers will automatically roll-over to the datacenter phone system allowing for important customer calls to be handled
remotely using the Polycom phones or roll-over to employee cell phones or both. Each employee will have a Polycom phone with
voicemail to email capability and follow-me feature to their cell phone which can be toggled by the user. Once the primary system returns
to operation, the phone lines fail-back automatically to the phone system located at the Client’s offices

'7) Client acknowledges that call quality for SIP is dependent upon voice packets traversing the public internet which is not controlled by
OMNIPOTECH. Client is responsible for providing adequate bandwidth, internet connectivity, class of service (CoS) or quality of service
(QoS) as needed for each user and/or location in order to ensure sufficient call quality levels. For this reason, we are recommending the
AT&T/ACC Business l()Mbps fiber circuit

8) Fax lines are not managed under this proposal because fax lines do not run through a phone system. Fax lines are a direct hand-off from
the telecom provider to the fax machine or other analog device. The fax numbers will remain analog. We will port the analog lines to
Comcast or other vendor of the Client’s choosingl

9) Client may use dedicated CAT5e or higher network drops for each phone connection to the switch located in the server room. The quality
of the network cabling will affect the sound quality in the same manner that poor CAT3 cabling will affect the call quality of an analog
phone. We will troubleshoot the network cabling, but a specialist may need to be engaged at Client’s expense, if needed.

10) It` dedicated CAT§e or higher network drops for each phone are used, then a network smart switch (not a hub) capable of l()(le/s data
transfer with at least 48 ports-will be required. The switch can provide PoE (`Power-over-Ethernet) to provide electricity to the phones
without using the included A/C power adapters for the phones or they can purchase a non-PoE switch. A switch meeting these
specifications is quoted herein.

ll) Phones can be powered by the included AJC power adapters for the phones if taken offsite or in the event the PoE switch fails and is
temporarily replaced with a non-PoE unit until a replacement arrives

12) Client will pre-authorize OMNIPOTECH as a technical resource with their all telecom providers for installation and future support
assistance

l3) Support for the telephones after the initial project period will be invoiced on a time and materials basis

14) The OM`NI-PBX service does not include telecom circuit services or internet services Client will be invoiced directly from their telecom
provider for the phone or internet services Client will pay for their telephone service directly to the telecom provider providing those
services

Anticipatory Project Schedule

The project has two components - computing infrastructure and telecom infrastructure. The computing infrastructure is more complex and requires a
greater amount of testing, so it will be the primary focus initially. The phone system will use the new A&T/'ACC Business fiber circuits for their
primary pathway for SIP trunking, but can also use the Comcast lines if the fiber is unavailable Since a new fiber circuit would be installed, the
phone system cut-over can occur either slightly before or shortiy after the computing cut-over depending upon timing and schedules

Computing Project: y ~
Assuming timely delivery of the hardware and completion of testing by Client, the computing infrastructure project should go live in mid-September.
The whole project is expected to take 5-7 weeks, but overall, the speed of the project is dependent upon three (3) factors:

l. the timely delivery of the hardware

2. the port timing of the phone lines by Bandwidth.com to allow cut-over to the new phone system, and

3. the methodical and timely completion of testing of the new computing environment by the Client

OMNIPOTECI-I will deliver the computing environment by August 28 to Exact for the installation of the JobBOSS software. Exact will complete
their installation by July 31. Client agrees to undergo a minimum of four (4) weeks for testing of the new system with an expected ending date of
September 14. Of course, the Client can shorten or extend this testing period at their discretion, but the cut-over will not be scheduled until the Client
accepts the new environment OM'N'IPOTECH will make any change required during the testing of the new system.

 

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The testing will focus on JobBOSS, the accuracy of its reports data access, security, printing, permissions, user setup, and integration of existing

systems

Once the Client affirms' in writing that they have tested the computing environment and all` issues have been resolved to their satisfaction,

the cut-over will be scheduled with the Client This timeline does not need to coincide with the Bandwidth. com porting of the phone lines

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15)

16)

Execute OMNIPOTECH agreements

Pay first payment according to payment option selected via ACH

Execute any new telecom agreements if any.

OMNIPOTECH will loan Client a provisioning server. This server will allow OMNIPOTE.CH to provision the virtual machines while we
are waiting for the Dell hardware to arrive. We will migrate the virtual machines to the new Dell server alter it has been configured for
virtualization.

OMNIPOTECH will purchase all of the equipment and begin construction of the computing and telephone system environment once the
hardware arrives

Server BEN-DCl will be constructed first and serve as the Active Directory FSMO master for the entire infrastructure. Due to its role, this
server has no access from outside the office.

Server BEN-SQL will be constructed and the identical version of JobBOSS currently being used will be installed to ensure identical
systems for testing. Upgrade to the next version of JobBOSS will occur as part of this project after the cut-over to the new servers has been
completed. The JobBOSS upgrade will be scheduled with Kelly and Exact. Exact will perform the software installation of the new
environment and the upgrade under the existing JobBOSS maintenance agreement Due to its role, this server has no access from outside
the office.

Server BEN-TSI will be created and all Client applications iiistalled. This server will be configured for remote access outside the office.
Backups for all servers will be initiated.

Client data will be copied from current server to new environment

The current JobBOSS software will be installed by Exact support and we will migrate a copy of the existing database(s) to BEN-SQL
server for testing

'A NOTE ABOUT JobBOSS_ Upgrade: The ultimate goal is to have the Client working on the latest version of JobBOSS, but we must first
ensure the creation of the new environment has been tested and migrated before we begin the JobBOSS upgrade The goal' is to first create
the new computing infi"astructure, and then after the cut-over to the new infi'astructure perform the migration to the latest version of
JobBOSS. The purpose of the testing phase' is to test the infrastruc_ture- not the new version of JobBOSS The primary purpose of this
two-step process is t_o ensure we (OhANIPOTECH and Client) are troubleshootin'g issues that may be related to the new infrastructure
design during the testing phase. All new software upgrades require a learning curve and can come with some issues, so we don t want to
be simultaneously troublesliooting the new infrasti'ucture AND a new version of._lobBOSS. The labor cost to upgrade to the next version of
lobBOSS is included' 111 the project labor and will be scheduled with the Client within orie week after the full completion of the
infi'asti'ucture.project.

Initial mailbox seeding will occur followed by a final synchronization the night of the cut-over to the new Exchange server.

As each server is constructed, it will be monitored and managed by OMNI-Care agents We will move all existing OMNI-Care agents to a
new organizational unit within the OMNI-Care management console to easily identify which machines remain on the current infrastructure.
After the cut-over to the new datacenter environment each PC will be backed-up, wiped, and reinstalled with Windows (assuming it is not
being replaced). A new instance of OMNl-Care will be installed on the new system in the permanent organizational unit along with
OMNl-Managed Security.

Once the server infrastructure has been provisioned and ready for testing, a terminal server leon will be setup on each PC. This icon will be
live and used for testing as well as the initial cutover. PCs will not be reformatted and joined to the new domain until after the cut-over 10_
the new infi'a.s'tructure.

Thirty (30) days after the cutover to the new environment, the existing server will have a final backup taken using StorageCraft. Client will
provide at least two (2) lTB drives (or more) to contain the final backup images Once the final backup images have been tested, the
backup will remain in our datacenter until January l, 2016 and the final image will remain on the local OMNI-Backup Appliance
indefinitely.

Phone System

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Z)

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4)

The phone system will be built, programmed and ready for delivery no later than September 14.

Once delivered, prior to delivery onsite training will be scheduled with each Client to occur within 48 hours of the phone system delivery to
allow users to “try" their new phones '
Fax lines will be migrated prior to the port request for the phone numbers because telecom providers will only support one port request at a
time. The fax lines will be ported first, then the phone lines to Bandwidth.com.

Cut-over from existing phones system to the OMNIPOTECH phone system will be scheduled after Bandwidth.com provides a delivery
date for porting of the phone numbers from one service to another.

 

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This proposal contains a one-time project cost to acquire new hardware combined with labor. _
This proposal also has a monthly component which will wholly replace the current monthly recurring services

 

 

ir Project a`nd`Edi'ilpr_nent for"On;-Pr'emis`e's Server " - ' ` . _ -` -` _-` " ' " ` - " 'Qty"= ` Ambu`ni - n TOfa|
|NFRASTRUCTURE:
NETGEAR GS74BTP 48 pt GB Smart Switch wiPoE (power over Eihernet) 1 769.81 769.81
Dell T4_30 server with SYR 24x7 Warranly, 4x1TB SSD drives with hot spare and V|\riware vSphere 1 11’272.77 111272_77
Essentials lot
EATON PW_9130L1500T-Xl_ 1500VAH350W Tower UPS 120V NEN|A 5-15 1 1092 66 1092 66
Double Conversion Online UPS for Phone Systems and Switches ` `
PHONE EQU|P|V|ENT: .
Labor for PBX connguration for S|P phone lines (C|ient pays telecom vendor for phone lines) 1 2.100.00 2,100.00
Polycom WX 410 PoE speakerphone without power adapter 15 208 34 3 125 10
- 12 line HD voice business media phone with a 3.5" color LCD display and dual Gigabit RJ45 ports ' ’ ‘
Polycom WX Color Expansion |Vlodule for receptionist's VVX 410 1 219.50 219.50
Polycom power supplies for models VVX 300, 310. 400, 410 (5 pack) 3 71 .00 213.00
Panasonic KX-TGP500 SIP DECT Cordless Base Bund|e with 'l Handsets
- Bundle includes 1 wireless handsets and a charger for each 0 157.08 0.00
- Base station can support up to six cordless handsets
Panasonic KX-TPASD Cordless Handset (requires KX-TGP500) 0 91 .‘l7 0.00
Panasonic K.X-TGA4OEB Range Extender for DECT 6.0 Plus Cordless Phone Systems 0 52.33 0.00
Polycom SoundStaiion lP 5000 conference phone 0 458.99 0.00

19 16.25 308.75

Estimated shipping for all units

Project Labor:

- Described herein with all onsite travel charges included thru the project cutover date, plus five additional 1 16253 00 16253 00
calendar days for simultaneous onsite support in corporate ofEce for proiect cutover. includes 21 calendar ` `
days post project remote support (no additional T&lVl for items related to the project).

 

 

Discount for Combining Phone System Project 1 -1,500.00 -1,500.00

MISCELLANEOUS:

Shipping for all items ~ will invoice customer the "as-billed" amount This amount is an estimate only 1 225.00 425.00

3YR UCC SSL Certincate for mulii-sitel Exchange server auto-discover and phone syncing ‘l 360.40 360-40
|'Sri'rbiiaci ahdi=_qiriprheiii `(i:ai¢"es`adurtronzili: -- ` ` ` ' - 1 ` '_ ' _ ; ' 34439.93
Payment Options:

Three (“Project Payment”) options exist with sales taxes for the Project Payment due with each payment
l) Fund the project upon order execution - fiill Project Payment and taxes
2) Make three Project Payments of $1 1,479.99 as follows
a. First payment of $l l,479.99, plus all sales taxes due upon order execution
b Second payment of 311,479.99 due in 28 calendar days from order execution
c. Third payment of $l 1,480.00 in 56 calendar days from order execution
Cl Note: Project payments are not based upon milestones nor coordinated with project cut-over as project may be delayed due to
Client testing, telecom portirig, circuit installation or other reasons
3) Amortiz.ed over thirty~six monthly payments'.
` a. Down payment of $3500 plus all sales taxes due upon order execution
b. Thirty-six (36) monthly project payments of$l,039.09, plus the monthly recurring services amount and associated taxes for those
services
c. Monthly recurring services cannot be cancelled until completion of initial term thru September 30, 2019. lf Client chooses to
terminate this Order Form or the Master Services Agreement for any reason including termination for convenience, then the
remaining project payments will be due according to the Master Services Agreement within 10 calendar days of notice to
terminate along with outstanding term for services

 

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USER WlTH TERM|NAt. SERVER ACCESS

- |Vlicrosoft Windows Server Standard R2 SPLA SAL

- lVlicrosoft Remote Desktop Services SPLA SAL 14 51 95 727 27
- Microsoft Oftice Siandard SAL (Word, Excei. PowerPoint & Outlook) ‘ '

- Microsoft Exchange Standard

- i\ilicrosoft SQL Server SAL (Required for JobBOSS)

- Terminal Wori-cs TSPrint - terminal server printing, file transfer, and PDF creation (per terminal server)

Proactive iiiiaintenance and Security

OMNi-Desktop Care for Windows-based desktops and laptops 14 20.00 280.00
ONiN|-Nlanaged Security per user - manage anti-virus. anti-malware, anti-spyware and URL filtering per 14 5 00 70 00
device ' '
OMNl-Server Care Remote Server Watch for Windows~based servers 3 59.00 177.00
OMN|-Managed Security Server - manage anti-virus. anti-ma!ware. anti-spyware and URL iiitering 3 20.00 60.00
2 included included

OiViNl-Firewail Monitoring (free with combined OiV|N|-Care Desktop & Server services)

Emaii Security

OMNi-Email Security Services for Exchange Server with secure outbound relay

- 1 mailbox per Exchange mailbox with up to 2 atlases‘. i.e.. cgarcia, carlos.garcia, etc.

- 1 distribution list (up to 2 aliases each) 15 6 50 97 50
- individual sparn filtering, antivirus and antimaiware for email ' '

- 60 days rolling email retention for email continuity and online access

- Secure outbound relay to prevent Exchange server blacklisting

Backup, Business Continulty, and Offsite Disaster Recovery
OiViNl-Backup Appliance for physical or virtual servers and up to 4 host servers protected 1 375.00 375.00

OMNl-Backup Storage billed ir'i 10GB increments (EST|N|ATED) 650 1 00 650 00
- No storage commitment required. invoiced at $1.'Gb for total data stored offsite ` '

OiViNl-Backup license per SBS server with image|\llanager intelligent Transfer & HSR 0 75.25 0.00
ONlNl-Backup license per non-SBS server with lmageivllanager intelligent Transfer & HSR 3 75.25 225.75
OMNl-Backup license per desktop - C`.thDl HR. Kelly 3 15.00 45.00
Other Hosting Services

OMNl-Shared Hosting for Websites (Hosting for up to one static, non-database driven website) 1 included included
OMNi-DNS Services (Hosting for all domain names) 1 |nc|uded mcwde

- bendco.com

OMN|-PBX (FBX-as-a-Service)

- One On-Prernises Phone System with Datacenter Faiiover to Hosted PBX

- Datacenter PBX located in SSAE16 datacenter

- Datacenterfaiiover system on dedicated virtual phone system on ciustered servers 1 221 .00 221 .00
- Datacenter Bandwidth dedicated to VoiP traffic

- Client owns Polycom handsets and OMNlPOTECH owns the phone system servers

- Client pays telecom provider directly for phone lines and internet

OiViNi-PBX Extensions (any Polycom, virtual cell phones. softphones. etc) - estimated quantity 15 4.00 60.00
Remedlation .
Business Period Remediation Block time agreement prepaid hours iVlon-Fri 8:00A|Vl-5:00Pivi support 6 125 00 750 00

-with one month roll-over allowance for unused hours

Additiona| I-|ours Beyond the Allotted Biock time or Non-Business Perioci or Emergencleecovery
Remediaiion Per Rate Schedule Agreement herein

 

 

 

t. The quantities listed for monthly recurring services will adjust lower or higher automatically each month based upon actual quantitiesl
2 The quantities listed above are estimates The actual quantities will be billed monthly

------------------------ Please see the appendix for more detailed description ofservices. ~»~--~-~-----¢--~~»-----

 

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Licenses
This agreement is based upon Provider-owned licensing for the following products:
¢ OMNl-DNS Services (Global DNS hosting for one domain name)
OMNI-Care Managed Security - Hosted managed anti-virus, anti-malware, anti-spyware and U`RL filtering (one license computer)
OMNl-Care Desktop / Server - one license per desktop and/or server
OMNl-Email Security Services f`cr Exchange Server
OMNI-Backup Appliance licenses
0 Micrcsch Server, Office_, Remote Desktop Services, and SQL licensing
Client-owned licensing may also be used and the Client will provide the installation media, license keys, and access to the third-party schware
technical support for installation and support assistance, if needed.

l l . l

License Parity and Costs

The OMNI-Cloud service provides one license for each of` the licenses listed above unless otherwise stated. In the event, Client installs, activates, or
uses more licenses than the highest monthly user account recorded for the calendar month, then Provider will invoice Client independently for that
license using Provider’s then current rate. The licensing provided herein is subject to change by the manufacturer. Provider will review price '
changes as they occur and reserves the right to increase the cost of the licensing herein upon notice to Client.

Invoicing and Payment

The quantity of authorized resources (users, servers, licensing) can increase or decrease monthly. Client will be invoiced monthly for all allocated
resources or instances of the infrastructure or use of schware directly or indirectly, regardless of actual access or use of the infrastructure or schware
within a calendar month. Any server resources, whether in use cr not, along with all authorized users are charged for the whole month because
licenses can only be purchased from the Provider’s vendors in monthly increments. The highest monthly resource count will be invoiced to Client.

lt is recommended that Client purge any inactive user accounts or resources by the last day cf the month to ensure that the user license or_ resource is
not active on the first_day of the following month or it will be considered active for the following month without exception_. It is the responsibility
of the Client to inform Provider-that a' user should no longer be active. Client must submit a stand-alone ticket requesting the-explicit de-
authoriz'ation of services-for that user'account along with an explanation regarding the disposition of the user’s data files and mailbcx, if
any, along with -the_redir'ection-0f-`en1ail addresses, if dcsired. Provider will not infer from tickets that a user.should be de-authorized nor
infer the disposition of_files.

Client will receive an itemized invoice each month for all charges Payments will be drawn via Automated Clearing House direct debit {ACH) by the
fihh calendar day of each month. OM`NIPOTECH reserves the right to request pre-payment for all services via ACH if Client has a chronic issue cf
untimely remittance as deemed by OMNlPOTECH. Any costs for labor, equipment, cr schware not included within this Order Form will be
invoiced separately and payment is due with the next ACH without exception rif payment j)r any product or service is nat received within 5 business
days ofthe due date, then all services will be programmatica!ly disabled until jdl payment for all outstanding invoices - including those invoices
created but notyer due - are received in full

Multiplexing or Pooling

Any hardware cr schware used to pool ccnnections, rercute infcrrnation, reduce the number of` devices or users that directly access cr use the
product, or reduce the number of operating system environments, devices or users the product directly manages, (sometimes referred to as
“multiplexing" or “pocling”), does not reduce the number of licenses of any type that client is authorized to access. Users cannot share accounts and
the infrastructure will only allow one connection at a time to the infrastructure per user account. Provider is bound by the Microsch Service Provider
Licensing Agreement (SPLA) and other vendor’s license reporting and fee structure requirements and this order form, nor the Client’s purchase
order, nor any verbal or written agreement can modify our reporting requirements nor the definition of an authorized user.

Server Capacities

The specifications for memory, CPU and disk space “Ccmponents” listed are assigned for each server upon setup. Disk capacity is ailocated to the
server when the server is setup and the equivalent arnoth of primary, secondary, and backup storage is also allocated at the same time to ensure that
the disk resources are never over-subscribed Each server is imaged according to its policy listed herein. If a server requires additional resources for
any one of the three Ccmpcnents, then the cost of the server will be affectedl Disk resources can be increased, but cannot shrink in size. CPU and
RAM can increase or decrease Microsch SQL servers cannot have less than four (4) vCPU per Micrcsoh’s licensing agreement if using per CPU
licensing.

Project, Travel for Project, and User Setup Costs

Total setup costs are fixed and are based upon the design and configuration cf the monthly services listed herein. Travel related expenses are
included in the setup costs until five days aher cutover to the new computing environment; whereupon, additional travel related expenses will be
invoiced based upon the Rate Schedule for Supplement Services. Any changes to the setup costs will be noted and may change the amount oi` the
Project Payment. Tctal amount of labor costs are due upon execution of this order form based upon the estimated number of OMNI-Clcud users and
the items listed herein. Client has the option to finance the Project Payment according to the options herein. The estimated number of users is based
upon the Client’s list cf authorized users given to Provider for setup and the costs will change if the number of users or the number of applications
changes aher.execution of this order form.

Construction cf the new environment will begin upon order execution. The first invoice will be created no later than August 30 and be received via
ACH no later than September 10, 2015. The existing services and the new services will be not be invoiced concurrently, but Will be merged to

 

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ensure that an overlap of services is not charged to Client. Upon cut-over to the new environment, the final month of billing for the existing and new
services will terminate at the end of the calendar month in which the cut-over occurs and the next monthly invoice wil-l only reflect the new servicesl
AlI payments are due via ACH hereaher. Client acknowledges that the cut-over date is dependent upon their testing, installation of` any telecom
circuits, and the porting of the phone numbers and acknowledges that OMNIPOTECH does not have control over the timing of any of` these events.

Cabling
Cabling services will be provided by the Client or a qualified third-party cabling company specializing in low voltage inf`rastructure. Client will pay

cabling provider directly as their services, if any, are not included herein.

Third-Par'ty Suppcrt Agreements

Client must have a current support contract with any third-party sof`tware, service, or equipment provider used by client. The support f`or that
application Within our server environment will be charged according to the Rate Schedule. A third-party application is any schware or service not
provided under this Order Form. Third-party provider schware examples are Microsoh Great Plains Dynamics, VMS, Act, Oracle, QuickBooks,
PeachTree, Salesf`orce.com, JobBOSS, Epicor, Sage or equipment like network copiers, scanners, cr internet service providers. All telecom and data
circuits payable to any provider other than OMNIPOTECH are considered third-party services. The list of third-party sohware, service, or equipment
providers used herein is not intended to be exhaustive or all inclusive.

Initial Term

Aher the initial non~cancellable term expiring on September 30, 2019, either party can provide notice of cancellation to have the agreement terminate
no earlier than the last day of' month following three full calendar months since the date of` cancellation notificationl For instance, if' notice to cancel
is provided on any day in March, then the final date for services will be June 30. The service will terminate at 4:00PM Central Standard Time, on the
nearest weekday, five calendar days before the final day of the cancellation period to allow for licensing cancellations to be reflected in the
manufacturer’s systems and to avoid an additional month of` licensing ccsts. Federal holidays will not be counted as business days for the purposes
of` this clause unless such holiday would cause the agreement to extend to another calendar month; whereupon, the services would terminate before
the Federal holiday. Any Provider-owned equipment or schware loaned to the Client or used for the purposes cf providing any service, even if such
service is not listed herein, will be returned to the Provider or retrieved by the Provider at lZ:OOPM five business days before the final day of the
cancellation period without exception unless new terms have been agreed upon in writing to extend the services.

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Exclusions
The following “Supplemental Services” are not included in this Order Form, but can be performed by Provider for an additional fee as defined in the
Rate Schedule below, if` requested.

l. ch_hnical support or trouble-shooting beyond the subscribed hours within the block-of-time provided herein, if any

2. Technical support for any hardware, sohware, operating system, beyond the scope of` the chosen service

3. Technical support for any telecom service for which the Client pays a telecom provider directly including, but not limited to, data circuits,
long-distance, dial-tone, analog lines, PRI, MPLS, TI, or any terrestrial or wireless baseband or broadband services

4 Onsite technical support for any reason

5. Third-party application or operating system upgrades

6. Hardware replacements, including but not limited to servcrs, workstation, PC, Mac, laptop, tablet, iPad, Droid, or Apple

7 Suppcrt of mobile/cellular phones or support of employee owned home computers »

8 lnstallation/repair/maintenance of computer cabling systems and components, electrical systems and components, environmental control
systems and components, media systems, televisions and projectors, building access control system, printers, faxes and copiers, telecom
circuits for voioe, data, or fax services or physical cleaning ofend-user computers

9. lnstallation/repair/maintenance of the phone system unless explicitly provided herein

10. Office moves, expansions, down-sizing, or relocation to a new facility

II. End-user training

12. Data consolidation and integration between existing business systems

13. lmplementation cfa redundant disaster recovery site

14. Software application cr website development or modification

15. Implementation of any hardware or schware not directly compatible with the network currently in use

16. Website, DNS, or registrar migration or hosting services unless the service is explicitly provided herein

17. Recovery from system outages caused by any person or any factor, such as fire, flood, lightning, sabotagc, virus, malware, spyware, theh,
natural disaster, or environmental conditions -

18. Any Work involved with legal discovery, regulatory compliance, or audits

19. Server collocation in Provider’s datacenter facility

20. Disaster recovery or restoring data

21. Site-to-site VPN services

22. Gateway services for internet-of-last-resort services for MPLS, AVPN or similar services

23. Any support for Client owned servers located outside the datacenter

 
     

 

 

 

 

 

 

 

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Base Rate - Hourly rate, per technician/englneer, or any work performe during e Business Pe rod c culat cl in 1 Determined b
increments with a 1 hour minimum charge for on-site service visils. Base rate is determined by personnel used: Persom_|e| U$;d
$155lhr - Partner | $145lhr -Archilecl | ll`>125ll1rF Engineer | $951'hr - Analysl
Business Period - BZOOA|V| to 5:00PlVl Centra| Standard Time, Monday-Friday (exc|uding holidays) Base Rate
After-Hours Period - 5:01PIV| to 7:59A|‘v1 Centra| Standard Time, Monday-Friday (exc|uding holidays). Twc (2) hour minimum Base Rate
calculated pcrtal-tc-porlal. multiplied by 1.25
Weekend Per|ocl - Any Saturday or Sunday (excluding holidays). Four (4) hour minimum calculated pcrtal-to-portal. :_|Yt?pl::;eby 1 75
Holiday Period - Ho|idays (includes New Year's Eve Day and New Year’s Day, Easter. Nlemorial Day. independence Day. Base Rate
Labcr Day. Thanksgiving and the day after. Cbrislmas Eve and Christmas Day). Eight (8) hour minimum calculated portal-to~ |t. |. d b 3 00
podell mu lp le y .
Trave| Surcharge - Any on-site visit for any service plan will result in a per technician travel surcharge which will be adjusted
to reflect transportation costs and travel time. Parking fees will be reimbursed by Client. Travel tc locations outside the greater $95
Houston area will be billed using the business period rate forthal personne|.

 

 

The undersigned affirms that they have the authority to enter into this agreement on behalf ofthe Client and agrees that the OMNIPOTECH Rate
Schedule, Master Services Agreement, Networlc Service Level Agreement, Order Form(s), Rate Schedule for Supplemental Services, and Acceptable
Use Policy are incorporated herein. Authorized representatives of Client and OMNIPOTECH have read the documents listed above and agree and
accept such terms effective as of the date first referenced below.

B
CLIENT: ENDCO INC OMNIPOTECH, Ltd.

DocuSignad by: DocuSigned by:

wl ard-w Signature: mbuql 0 L‘iS(Il-W

  

 

 

 

 

Signature:
35924`\1...
. ll<e`|`ly Hatcher , _
Prrnt Name: Prlnt Name: Robert D. Kyshnger
Title: CONTROLLER Title: Managing General Partner
7/28/2015 | ll:12:26 CT 7/28/2015 | 11:15:21 CT
Date: Date:

 

 

 

ll422A Craighead Dr ¢ Houston, TX?'?OZ$-$B()S l Phone: 281-768-4800 ¢ Fax; 281-768-48](} - www.omnipotech,com v Form 20150320 - Page 10 ofl4

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We understand that a new phone system has a learning curve.

Don’t worry about getting ali the features setup perfectly from the beginning
We will make any configuration change to your system you request for the nrst 30 days free of chargel

 

OMNt-PBX Phone System Features

Auto-Attendant (|VR) '
The Asterisk Auto-Attendant lets callers "Press 1 for Support" or "Press 2 for Sales." The Auto-Attendant feature is easy to use and powerful. With
simple clicks of the mouse you can manage call flow, build scheduled responses, forward calls off-site, and more.

Voicemail
v Asterisk offers four easy ways to retrieve messages:
Press a single button on your office phone.
Dia| in remotely from any outside phone.
Receive attached .wav files iri your emai|.
Listen via your Web control panel.

Voicemaii-to-Email

Receive your voicemails as emai|sl Asterisk comes pre-configured to send each employee an email whenever they get a voicemail. You can even have
the audio attached to your email so that you can listen to the voicemail right from your lnbox.

No POP3. E‘>l\l|TF’l |MAF', or Exchange configuration requiredl

FindN|e®

Allow callers to find you wherever you are: on your cell phone. at home, or at a branch office based on rules you create. lVlake FindMe work for you with
various features such as: a scheduler, simultaneous ringing, and privileged iists. Not only can this be used for individual extensions, il's also a way to
create small rings groups. This can be used. for examplel to have a secretary‘s phone ring at the same time as the boss‘ phone.

|illuslc-on-Hold (Un|imited)

Music-on-Ho|d (|VlOH) is as simple as uploading iVlP3 tiles. Asterisk comes with unlimited playlists, giving you the ability to play different audio tracks for
calls coming into different departments or queues. Use NlOH creatively to highlight motions to new customers, up sell current customers, or assuage
angry customers calling your support team. '

N|ght Mode

Have a small ofnce that opens when your first employee arrives and closes when your last employee leaves? Night mode is a feature for companies that
want to "turn on" their phone system in the morning with a few key presses and put it to night mode and the end of the day with a few key presses or
setup a speed dial button on your phones for one-touch switching of mode.

Rlng-all (Blast Group)
A B|ast Group takes one inbound call and rings all phones; the first to pick up gets the cail. This feature. on other phone systems. is sometimes called
"Simultaneous Ring".

Ca|l Forwari:ling
Users can employ their personal Web Control Pane| to enable call forwarding to either an internal extension orto an external number.

Name Dlrectory

Asteris_k comes pre-configured with a professional "spel|-by-name" directory. Cal|ers are simply prompted to "spe|l the nrst three letters of the pariy's first
or last name." They are then automatically connected to the requested extension Don't want to be in the Name Directory? The Asterisk administrator
can easily exclude certain extensions from the Name Directory.

Dle (Direct inward dialing)
Have more employees than phone numbers? With one click of the mouse, you can assign an inbound phone numberto an employeel

Branch Office Suppcrt
Deploy a low~cost Asterisk server in each office. Then, with a few clicks iri your control panei, link your servers to take advantage of the following
features:
~ Free office-to-office calling via Vo|P.
Cal| fon'iiarding to any extension in your linked Asterisk server network
Converged Name Directories (speil-by-name)
Converged internal Employee Directories
Shared agents and queues

Conference Bridges
Conference bridges were once thought to be unaffordable for many companiesl but Asterisk comes pre-configured with conference bridges for freel A
Asterisk conference bridge suppoits an unlimited number of internal participants and as many external participants as you have phone lines.

Extension Groups
Your organization may not be flat - meaning that some employees have communication responsibilities that others do not. Asterisk includes a powerful
"groups" feature that allows you to build extension groups and assign permissions to those groups.

 

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Examples of Asterisk permissions are:

Zone Pagingllntercom

Automatic Call Distribution (ACD) - Record other‘s queue calls

ACD - View queue reports

ACD - Agent |ogin l |ogout

Call Forwarding

Check Voicemail

Dozens morel

Routing by Dle

Your business may have several numbers for different departments With Asterisk's ability to route by D|Ds, you can direct calls to a different call menu
based on the inbound number. `

Paging l Zone Paging
Want to page everyone in the whole company orjust a certain set of employees? Simply build a "group", assign that group an extension number and
begin paging them through telephone speakersl Note: Cisco phones cannot receive pages.

lntercom l Zone lntercom
Nlany telephony ducts offer an intercom feature, but do you know of any that offer Zone lntercom? Asterisk doesl With Asterisk you can dial a zone to
setup an ad~hoc conference with everyone in that zonel Note: Cisco phones cannot receive pages.

Voicemail Groups

Want to send a voice message to multiple people? Use the Voicemail Group feature to easily build groups (such as your sales team). Then.dial the
number of your group. just as you would normally dial an extension, and leave a message Seconds later, everyone in the group gets your new
messagel

Advanced Call Forwarding
With a few clicks of your mouse you can forward ari extension to another extension, a cell phone or even to another part of your Auto-Attendant. This
lets you build very creative |VR trees to meet the needs of your business.

caii Retum
When listening to their voicemail, your employees will be able to press a key to call the person back. You can enable or disable this feature on a per-
employee basis.

Custom Caller |Ds

Asterisk lets you customize the inbound Cailer lD name/number for each department and it lets you change your outbound Calier lD on a per-extension
basisl allowing you to block. reveall or change the Caller lD of every extension in your office! Note: l\'-\sterisk cannot change your outbound Calier lD if
you are using POTS lines. For 911 reasons, POTS outbound Caller |Ds are always controlled by your carrier_

|VR Authentii:ation
With a click of the mouse, you can password-protect any part of your Auto-attendant. Use this feature to protect your Conference Bridge or your priority
queues.

SMSIPager Voicemail Notify

This feature gives you the ability to enter an SN|S or Pager email address in order to receive voicemail notifications on that device These notincations
are short and do not include the actual audio attachmentsl This feature can be used in conjunction with the Voicemail-to-Email feature Thus you can
receive email alerts (including optional audio attachmenls) alone email address and simultaneously receive SiVlS/pager notifications at another addressl

ReaI-Time System Resource Graphs
Asterisk offers highly detailed graphs of system resources (CPU, RAiVl. HDl Swap). server activity (Cal|s, Recordirigs, Conferences), and network activity
(upstream, downstream).

Ca_ll Screening

Call screening allows you to talk to who you want, when you want. When you enable Finlele on your extensionl optionally use call screening to screen
the calls that are fonNarded to your mobile home, or other phone numbers. Before the call is fonivarded, the voice prompt will ask the caller to record
their name, and that recording will be played to you before you accept the incoming call. Asterisk takes call screening to the next levei!

 

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A description of all our computing services is listed beiow. Piease note that all services may hot be inctuded on this order form. We will only deliver the
services listed above

Oi‘illNl-Cloud LaaS (Licensing-as-a-Service)

OiViNiPOTECH has contractual relationships various software vendors including Niicrosoft. VlViware, Gitrix, Veeam. StorageCraft. Trend iViicro. Citrix,
Scorpion Software. and others to provide software on a month-to-monih basis on provider owned infrastructure The client is invoiced only for the
maximum number of users, instances, or resources authorized each calendar month. The software is licensed to OMNiPOTECH and is the
responsibility of OMN|POTECl-l. ONlNiPOTECH pays the software vendor automatically on the 5ih of each month for ali authorized instances The client
has no ownership interest in the licensingl The licensing includes version upgrades at no additional cost as provided by the software vendor. Pricing will
be automatically adjusted based upon price changes made by the various providers and will be reflected on the next monthly invoicel Niany of our
services include provider owned licensing in order to deliver the service to the ciient; i.e.l OiViNl-Backup Appiiance.

Olil|Ni-Cioud |aaS (infrastructure-as-a-Serv|ce)
OMNIPOTEC|-l provides redundant SSAEtS datacenter infrastructure for posting any operating system.

‘i. lViu|ti-provider redundant bandwidth, high-availability firewaiis and switches, physical or virtual servers, ciustered high-availability
and fault-tolerant virtual server environment redundant SAN storage and redundant SAN network
Backup. business continuity, monitoring, and security services
Business-hours support is included for all issues related to the ONiNiPOTECH infrastructure and services listed in 1 & 2 above
Client has an administrative account to the hosted infrastructure and is responsible for remediating issues relating to the hosted
ggerating system and applications
Client is responsible for ali desktop issues and infrastructure issues located outside the datacenter
Client can request time and materials support for any service or issue regardless of location based upon the rate schedule
agreement

se see

OMNl-Cloud PaaS (Platform-as-a-Service)
includes ali the features of OiVlNl-C|oud iaaS (infrastructure-as-a-Service)
1. Business-hours support is extended to cover the operating system and any software provided by OiViNlPO'i'ECH under ONiNi-Cioud
7 LaaS located in the datacenter environment
2. Client has limited administrative rights to the hosted infrastructure and is responsible for issues relating to ali agg|icgtigns not
provided gy OMNlPOTECH.
3. Client is responsible for all desktop issues and infrastructure issues located outside the datacenter
4. Client can request time and materials support for any service or issue regardless of location based upon the rate schedule
agreement

OlillNi-Cloud DaaS (Datacenter-as-a-Service)
includes all the features of OMNi-Cioud PaaS (Platform-as-a-Service)
1. Business-hours support is extended to cover the operating system, software provided by ON|N|POTECH under OiViNi-Cioud LaaS
and third-party applications located in the datacenter environment
2. Client has (typically) no administrative rights and relies upon OMNIPOTECH for remediation of the hosted environment
3. Client is responsible for ali desktop issues and infrastructure issues located outside the datacenter
4 Client can request time and materials support for any service or issue regardless of location based upon the rate schedule
agreement

Ol'illN|-Backup Appliance
We feel that the protection of a client’s data is our greatest responsibility The quantities listed for monthly recurring services will adjust lower
or higher automatically each month based upon actual quantities. The OlViNi-Backup Appliances are the property of Oi‘iliN|POTECH and must
be returned if the services for ONlNi-Backup Appllance or Ol\llNl-Backup Storage are canceledl The OiVlNl-Backup Appiiance provides a fully-
monitored backup and business continuity solution. The ONiNl-Backup Offsite Storage option can be added to the OiVlNl-Backup Appiiance to
collect and transfer your critical data offsite for a complete disaster recovery solution

OliiiN|-Eackup Offsite Storage
Thel OlViNi-Backup Offsite Storage option transfers your critical data offsite

Oiili Ni-Care Dosktop

Agent performs the following proactive maintenance and monitoring tasks which are setup on a recurring basis:

. agent automatically generates a hardware and software inventory for each system

analyzes the hard disk to determine free/used space

performs a night-time scandisk to check the file system for issues

S.iVi.A.R.T - self monitoring and reporting technology which provides predictive faiiure notihcations from the computer’s B|OS to the

ONlNi-Care Agent

performs a S.Ni.A.R.T. scan to determine if the hard disks have any physical damage

performs a disk defragmentalion

purges ali temporary nies from the computer

insta|is the latest Niicrosoft updates on scheduie defined in writing by Client

automatically restarts failed Niicrosoft sewices

automatically creates a ticket in the event the system has an error

Updates Adobe Acrobat Reader, Adobe Fiash. Adobe Shockwave, Adobe Air, iTunes, QuickTime. Java and other popular programs

to the latest security patches

12. Provides a system tray icon to allow the user to initiate a ticket and includes an option to add a screenshot of the error message to
ensure accurate communication of the error message and desktop settings at time of error

13. OIViNi-Care agent can also perform many other security features like denying users the ability to copy data to USB drives

14. ONiNl-Care iVianaged Desktop Security is installed and conngured according to management’s security policy

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Cllil|Nl-Care Server
Agent performs the following proactive maintenance and monitoring tasks which are setup on a recurring basis:
‘i. Same features as the OlVlN|-Care Desktop agent, plus
2. Enumerates all active ii/iicrosoft-based system services and generates automatic alert notifications to monitor these services for
failures
3. External monitoring is enabled on the existing internet circuits to monitor the availability of the internet service providers equipment

OlVlNi-Care Managed Desktop Security:

. Antivirus protection

Anti-maiware protection

Anti-spyware protection

Behavior monitoring of disk activities

Nianaged firewali policy with automatic security policy elevation when the computer is removed from the ciient's network

URL filtering to control internet access by time of day or deny all together. For instance only allow iaptops to access Facebook after
5 P|vi Mon-Fri and on weekends.

A|i security policies are not dependent upon the system residing at the ciient’s office Systems can be managed as groups and each
group can have unique policies to provide owners, managers, or shareholders less restrictive poiicies.

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O|illNl-Shared Hostlng for Websites

Windows 2008 server hosting
SiVi'i'P reiay

FTP access

Virus protection

Up to SUGb free space
Uniimited domain aliases
Uniimited monthly data transfers

745‘-"-‘5-"':“.¢"!‘-’._`

Oliii N|-DNS Services

Managed DNS hosting by OMN|POTECi-l engineers

Guaranteed 100% uptime

Giobai iP Anycast ciusters spread around the world

Redundancy built upon Cisco and Juniper equipment

DNS defense to prevent DDoS, remote traftic black-hoiing and bandwidth capacity agreements with upstream providers
Automated zone comparison on all DNS servers giobaily

Suppcrts inB. Service Records. weighted load balancing

Optionai automatic DNS record change for specific iP for disaster recovery hot-sites

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OliiiNl-Emall Security Services for Exchange Server

Cloud-based spam, virus, malware and spyware protection

Guaranteed 99.9% uptime

User managed spam litter -doesn‘t require assistance from OlVlNiPOTECH to whitelist emaii addresses
Giobai whitelist to ensure deliver of emaii from clients and vendors

ZGON|b maximum message size

industry heuristics available

Attachrnent and content filtean

Secure outbound relay preventing your company from being blacklisted by others

Decreases bandwidth usage on the internet circuit used by your Exchange server

0. Caches your emaii if your circuit is down or Exchange server is unavailable for any reason, i.e., power failure

es¢nee+ewe

OMNl-lil|onltorlng Services
1. Monitoring of clients telecom provider router for up/down status
2. Monitoring of ciient’s internal firewail for upldown status 1
3. Monitoring of ciient’s internal server for tip/down status and other open ports, i.e., RDP, Si\llTPl HTTP/HTTPS, etc.

Ol\llNl-Drlve .

Provides online file sharing for teams, employees who need access to files ofliine. keeping geographically separate servers in sync, file sharing with
third-partiesl and emailing attachments too large for email;

Uniimited number of agents for Windows. App|e OSX, and Linux agents - install it at work and home PC for no additional cost
256-bit AES encryption. on device and in-transit

Centraiiy administered from web browser with comprehensive usage reports

lillanaged tile sharing for internal/external parties

Granuiar user-access and security controls

Universai file access; sync across stationary and mobile devices

Remoter wipe computers and devices for inactive employees to protect company data

Active Directory integration

Client controlled revision history

Custom deleted die retention periods

Smart alerting system for data usage

_‘“"$-DP°.`~'P’$-"':‘“F-*’i°._‘

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Project and Services Order Form for
Bendco

lone 3,` 20t5 (Rcvision l.t)}

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Project to Address Current lssucs:

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Backup Appliance: Prior to any other work being performed at the server level, on OMNl-Backup Appliancc will be installed 'l`hc
appliance is owned by OMNl`POTBCH and nli‘maintenrtnec of the appliances hardware and software plus monitoring ot` all backups of
corresponding servch is included each month in the current rates heroin for the one SE-RVER. Disaster recovery testing can be performed
according the Client’s needs according to thc Rate Schedule Agrecmcnt, but an initial test is included herein prior to hurricane season as
part ol` this project.

Backup:\ Backup the server hourly to the OMNl~Backup Appliancc. 'l`hc Appliance can support up to four server operating systems in o
disaster recovery situation Backup solution uses full disk imaging schware which also provides incremental hourly copiesl A Windows ll
virtual machine nursing on the Appliancc will bc the backup management sewer named "BENDCO-BU'l‘bis backup methodology allows
for the recovery ot`thc entire scrver, a single l`oldcr. tilc, or the JobBoss database

Business Continuity: la thc event the primary server l`ails, a backup image ot` the SFSRVER can he restored t`rom the backtrps'locatcd un
the OMNl-Backup Appliuncc providing business continuity to thc Compan_v using a claire ot`thc failed systcm.

Ol’l’sitc Disaster Recovery: Each night, the daily St?.RVER backup will be copied to OMNII‘OTECH’s Aurora Colorado datacenter. This
design allows for thc failure ot` both thc primary and thNi-Backup Appliance servcrs and still allow thc Sl.~“.R\/F.R to be restored to new
hardware in the event another failure occurs This backup methodology allows for the recovery ol`thc entire scrvcr, a single t`o_lder. lile, or
thc lobboss database front the oft`site backup locationl The datacenter facility is-owncd by Sun(iard is certified SSAEIG. The SSAEl 6
ccrtilication documents will be provided to the Client upon completion of the project for their compliance audits

Backup of Specifie Workstations: Ccrtain workstations (Kelly, l-lR, CAD) contain applications or data which cannot be easily restored or
rccovcrcti. Wc recommend using the OMNi-Baclrup license l`or desktops to image these systems (at least daily} to thc OMNl-Backup
Appliance. When one ot` these workstations t`ails, we will be able to restore the image to a new hard disk. lf` the machines arc rcpiaecd. the

machines GUID {uniquc I`D) will change and the sutlwarc \vlli need to he setup on the new GUID.

Activc Directory: Activc Directory (AD) is thc “heru't“ ot` a Windows Server environment Evcrytlting in the network is an object lo AD
including uscrs, computerss groups liics, Foldcrs_. printers, and databascs. Many Active Directory clean~up tasks need to he performed
including:

a. Rcrnovc inactive users who have not logged into thc system in more than 30 days (totals l3)

b. Removc disabled user accounts (totals 6)

c. Simplit`y user groups (eurrcnt total 67)

d. Removc inactive computers who have not logged into the system in more titan 30 days (totnls 25)
Dotnain Adminlstratnrs: A Dornain Adminisuator account is like a “God" in a network An account with this level ot` permission can
literally change anything in tile Active Directory environment including changing passwords and viewing othcr`s data. Morcovcr. any
virus, malwarc, 'l`rojrm or process initiatcd'frorn a uscr`s session that has Domain Administrator credentials can wrch havoc, destroy data,
and change the systcm. Morc than 30% ot` the active accounts in lite SERVER arc domain administrators We will eliminate ali but two
Domain Administrator accounts Ouc account will bc used solely by Client authorized personnel (it` any) and another will housed solely
by GMNtroreCH. '
Windows Operating Systeinr 'l`hc current Windows Sntail Business Server 2008 (SBS 2008} is built upon the Microsoll Windows Vista
code base This server uses Windows Server 2008 Relcnse l. This code base is three generations behind and over seven (7) calendar years
old. 'l`hc current Windows Server platform is Windows Server 20l2 Rcicasc 2. 'l'hc current environment does not include any upgrade
path_l`rom SBS 2008 to the current vcrsion. Wc will discuss infrastructure modernization
Microsot't Ot`fice; lv‘lultiplc versions ot`Microsoil Oi`t'icc exist. Wc would recommend standardizing on the current release ot"lviicroso.f`t
Ol`i`tcc 2013 Standard or Proi"cssional. - '
Disk`Space for SE.RVER: 'l`h'c current SliRVER is almost out ot` hard disk space for its operating system partition {drive letter “c:\"). 'l`ho
resolution to this problem will be discussed
SERVER Dlsk Clean'up: 'l'hc server is consuming over |.2'l"B ot` data on three separate partitions This quantity ot` data seems highly
unusual given the number ofuser‘s even wltcn`lhe age ofthe Company is taken into consideration Wc suggest that a Bendco authorized
person bc assigned to assist us with identifying items which can be archich to USB drives (not includcd) to reduce the Sl£RVER‘s cost ol`
oll`site backup and speed backup processes A budgetary amount ot`ol"i`sitc backup storage has been estimated herein based upon these
clean-up ct`i`orts.
Dynitmic tlost Control Protocol (DHCP): Dl-iCl’ services will he setup in Activc Directory as suggested by Mierosoii network designs
since Windows Server 2000 to current Windows Server 201 2. An exclusion ll-‘ range will he provided ensuring that thc scrvcr, lirewail.
wireless access points printers and the Konica Minolta li’ addresses are not used by dcsktops. laptops__ phones or other network devices
Domain Name Scrvicc (DNS}: Windows Servch require tile proper configuration ot`l}NS. 'l`hc SiiRVl`-jl{ and DHCP scope will be
properly configured for DNS services according to Microsotl's design l`or Activc Directory cnvironmemg_

 

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Firewaii: install o new firewall capahic of'oct'ive content and security tiitcring_ oi`viruscs and malware providing n tiered security design
when combined with OMN|-Mttnagcd Security i`or Desktops and Servcrs. 'i`his iirewall unit allows i`or thc aggregation ol` up to l`our
internet circuits to be used simultaneously C.`urrently_. the Birch {Cheyond) internet circuit is not visible to devices 'l`his device removes
the Comcast tircwttll’s role as Dl~lC-P server which provides ii’ addresses to the networkl
Wirclcss: Wircless availability will be addressed alter the i'u‘ewall is instttilcd. Currently. the wireless has no security required to access
the network according to my discussions with Kclty.
Desktop and Server Antivirus: i’rotcct the Scrvers and computers with OMN[~Mnnagctl Security t`or Desktops and Servers. 'i`his solution
is a singular security solution to prevent viruses_. mutwarc, spywurc, and limit internet browsing (by devicc) to wcbsitcs ulttiiorized by thc
company`s security policy 'I`his security subscription protects the duta, hut it also protects the company by enforcing llR policy and
ensuring n consistan sat.`e computing environment This subscription is ntonth-to-month based upon active quantities and does nut require
LAN-based network manugement toois.
Email: Email will remain temporarily with current provider. Client will be provided options t`or centrali;r.ing, email using Microsolt
Exchange in either an ott-premises or hostcd design in future discussion Currcntiy, no backups of entails occur and management of
Outiook FS'I` files is unknown
Ccmputers: Join nll Windows l"ro computers in ccc-lt location to thel domain to allow centralized group policy management for
permissions. t`tlcs, t`olders. and printer uccch
Duplicatc Names: Resolvc thc duplicate computer names on the network (Andrea and Vanessa). lilotii systems wilt be renamed to ensure
destruction ot" the corrupted security identification within Activc Directiy
Monitoring; Monitor the scrvers, iirewntl, and internet circuits availability to notify OMNIPTUEC.l-l and Client so that all parties can
respond accordingly. 'l‘lie OMNl-Carc agents will automatically open service tickets it` tiny ot"thc critical computing components nrc not
responding allowing for the Ciient and OMNIPO’!`ECI~E employees to bc alerted to potential issues
Prc»Active Mninteonnce: Maintain each system with current Microsott software security patches and enhancements plus monitor
devices logs to ensure adequate resources using OMNl-Care agents on each computing device to proactive maintenance thru art mutual
subscription The agents perform scheduicd maintenance of each system to ensure optimal hcttltlt, plus they provide nn inventory ot`thc
computing environment allowing t`or better asset management and trucking The agents also allow l`or immediate remote support by an
OMNIPOTECH engineer speeding remediation ot` system or user issues 'l`ltc patch status for systems ranges t"rom missing 3-45 security
updates
lininterruptible Fower Supply (UPS) - Bnttcry Backup: Fluetuuting electricity level stresses electronic devices and destroys datu.
Thrce types of UI’S devices exist.
tt. Stanci-by LlPS: The most common tire stand-by units which can bc purchased at Oll_`ice Dcpot, i’ry`s or other local retailers rtnd
only provide battery backup when rt complete power loss occurs
b. L.inc interactive UPS: Thc next levet or UPS is line interactivc which monitors the incoming electricity and engages the battery il`
thc current is +f- EO% above expected levels l.inc interpretive units allow the UPS to protect the server and network equipment
l t`rorn low voltage tbrown*out) conditions which arc most prevalent than black-cuts iloss cl power).
c. Online Dcul)le Conversion'. Servch and network equipment should he protected by onlinc double conversion UPS devices which
' luke the alternating current (AC.) power from thc wall and convert it to direct current (DC) before rcconvcrting it to pure
sinusoidal AC current which is always at the correct voltage and tunperagc. in the next project phase, we will make n
recommendation on rt properly sized ontinc double conversion UPS unit to protect the server and network equipment
Switches: 'l.`l'ie network switches nrc ttnmanagcd consumer level ntodeis. Recormncndzttions to replace thc two consumer switches with
otte business class device will be made in the i`uture network moderniriuion pro_icct.
JobBoss Updates: No JobBoss updates should be applied until the current environment is protected hacked-up. and stabilized Once this
process has been completcd, n modern design based upon the Client’s needs will be designed allowing for thc update ol`Jol)BosS to its
latest version
Phone System and Birch Costs: 'I'he Birch invoice is currently $lt)42/month tinciuding tuxcs). I-`or less than this monthly amount n new
phone system. with i`ailovcr capability to unother oi`i`sitc phone systcnt. pitts another telecom provider can he obtained allowing greater
phone system capability (i.e., voicemttil to etnaii) and even remote workers (it`desircd}. This topic cnn bc explored in tltc future network
modernization project
Pulicy Templnte: l’rovidc Client art editable network and computer usc policy tempintc f`or employees as required by compliance Client
will modify thc tcmplate according to their specific policies
Documentation: Document the linai network dcsign. Prcpnrc tempiatc t`or annual "Dnta Protection and Avrtilttbility Sumtnary".
Document to be completed upon request l`or internal and external compliance auditors

 

li422A Craighcttd Dr v Houston.'l`)( 77025~58(}8 v Phone: 281-768-4800 ¢ an: 28t-763-48l0 ¢ \\’ww.omuipoteclt.corn ¢ Form 20|50320 1 liachut`(;

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l _liionthiy"ttecur`rtnp Services

 

 

Gtty Amt Totai |

Proective Malntenence and Security
OM§|»Desl<iop Cere for Windows-based desktops and iaptops 14 20 00 280 00
OM i-Menaged Security per user - marie e anti-vinrs, enti-rnalwa e t'- ' l '
device 9 r , an t spyware end URL nitenng perr 14 500 TO'OO
OMNl-Server Caro Remote Server Watch for Windows-based servers 1 59.00 59 00
OMN|~Maneged Security Server - manage and-virus, anit-meiware, enti-spyware and URL filtering 2 20.00 40.00
OMN|-Firewa|| Monitoring (free with combined OMNl-Care Desktop & Server services) 2 included Inciuded
Backup. Business Contlnuity, and Offsite Disaster Recovery
OMNl-Backup Appllance for physical or virtual servers and up to 4 host sewers protected t 375_00 375.00
OMNl-Backup Storage billed in lDGB increments (ESTlNlATl-ED)

- No storage commitment required invoiced al StiGb for total data stored offsite 550 1'00 550`00
OMN|~Backup license per SBS server with |magetvianeger lntet|igentTranefer & HSR _ 1 75.25 75.25
GMNl»Becltup license per ncn-SBS server with |magel\llaneger intelligent Transfer tit HSR 0 75.25 0.00
OMN|»Becirup license per desktop - CAD, HR, Kelly 3 15.00 45.00
Other Hostan Services
OMNl-Shered Hosting for Websitea (Hosting for up to one etatic,. nonoatabese driven website) 1 included included
OMNl-DNS Services (Hoeting for ali domain names)

- bendco_com ‘i included included
Remed|atl_on
Business Pertod Remedietton Biock time agreement prepaid hours Mon-Fri B:ODAM-S:OOPM support
~ with one month rollover allowance for unused hours 10 125`00 1250`00
Addittonai Hours Beyond the Allotted Block time or lion-Business Pericd or Ernergency/Recovery
Rernediation Per Rate Schedule Agreement herein

[=M`c_)nihlv:_rotat item edelson-en .- ' ._ . ' ._ 2344.26 |

 

t. The quantities listed for monthly recurring services will adjust lower or higher automatically each month based upcn_actual quantities

2. The quantities listed above ere estimates The actual quantities witt be billed monthly.

--------------~~-»~»-»-- Plcnsc sec the appendix i`or more detailed description ot` serviccs. ------------------------

Exciusions

The following “Supplcrnentol Scrviccs" erc not included in this Order Form. but con be performed by Provider i`or an additional fcc ns dclincd in thc

Rate Schedule below, it` requested

1. chhnical support or trouble-shooting beyond the subscribed hours within thc bloch-ot`-time provided herein. if any
2. 'l`cchnical support For any hardware, softwerc. operating systcm, beyond thc scope ofthe chosen service

3. 'l`cchnicnl support for any telecom service for which thc Client pays a telecom provider directly rncluding_. but not limited to. data circuits
long-distancc. diai~tonc, analog lincs. PRI, MPLS. Tl. or any torrcstrinl or wireless buscband or broudbunci services

Onsite technical support for any reason
Third-party application or operating system upgrades

Suppcrt oi` mobile/cellular phones or support of employee owned home computers

4

5.

6. liardwarc replacements inciuding but not limited to scrvcrs. workstotion, PC. Mac, laptop, tubch ii’nd._ Droid, or Apptc
7

8

installation/repoirfmuintcnencc of computer cooling systems end components electrical systems and components, environmental control
foch and copicrs. telecom

systems find components, media systems televisions end projectors, building access control system, printers.

circuits t`or voicc, data, or fox services or physical cleaning of end-user computers
9. lnstatlation/rcpnir/maintcnancc of the phone system unless explicitly provided herein
iti. OS`ficc movcs. cxpnnsions, down-sizing or relocation to u new facility
il. End~uscr training
12. Detn consolidation and integration hctwccn existing business systems
13. implementation of o redundant disaster recovery site
l4. Sottwarc application or wcbsitc development or modification

15. implementation of any hardware or soltwnre not directly compatible with thc network currently in usc

16. chsitc, DNS. or registrar migration or hosting services unless thc service is explicitly provided herein

l7. Recovery from system outech caused by any person or any factor. such as tirc, iiood, lightning. sabotage, virus1 ma

natural disastcr, or environmental conditions
18. Any work invoich with legal discovery, regulatory compliance or audits

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l9. Server collocation in l’rovider’s datacenter facility

20. Disaster recovery or restoring data

2 |. Site~to-site VPN services

22. Gete\vay services t`or intemet-ot'~lust-rcsort services t`or MI’I,S, AVI’N or similar services
23. Any support ior Client owned servers located outside the datacenter

 

    

:=`.ltractstavoulareaswhenevercareless' l

 

Delermined by
Personnel Used

Base Rate - Hourty rate. per technicien!engineer. for any work performed during the Business Period calculated in 15 minute
increments with a 1 hour minimum charge for ott-site service visits Base rate is determined by personnel used:
$185fhr - Partner | $145ilhr - Architect | $125/hr -» Engineer l 595/hr - Analyst

 

 

 

 

Business Pertod - B:ODAM to 5:00PM Central Standard Time, Monday-Friday (exciuding holidays) Base Rate
After-Hoore Perlod ~ 5:01PM to 7:59AM Central Stanclard Time. Monday-Friday (exc|uding holidays). Two (2) hour minimum Base Rate
calculated portal“to~portal_ multiplied by 125
Weekend Pertod -Any Salurday or Sunday {exc|uding holidays). Foi.rr {4) hour minimum calculated porta|~to-porta|. z::?p!;::‘€by 115
Holielay Perlod - Ho|idays (inc|i.rdes New Year’s Eve Day and New Year's Day, Easter. Memor|al Day. independence Day. Base Rate

Labor Day, Thanl<egiving and the day after. Christmas Eve and Christmas Day}. Eight (8} hour minimum calculated portal-to- _

ertal multiplied by 3.00

 

Travel Surcharge ~Any on-eite visit for any service plan will result in a per technician travel surcharge which will be adjusted
to reflect transportation costs and travel time. Parklng fees will be reimbursed by Client. Trave| to locations outside the greater $95

 

 

 

 

Houston area will be billed using the business period rate for that personnel

 

 

 

l One-Tlme Project and Equipment Qty Arnount Total
SonchALL tz400 non~wireless with tyrs Comprehensive Gateway Suppcrt Services t 1,220.71 t,220.7t
- Optionai 2 additional years of Comprehensive Geteway Suppcrt Services 1 634.09 634ng
Assessmer\t Project Laber on ticket #153052 1 1,000.0[} t,OGO\OtJ
Assesement Project l_abcr Diseount for Recurring 1 -500.00 -500.00
Project La bor:
- Described herein with up to 6 onsite travel charges during project 1 5`400'00 5'400'00

l Project and Equlpmont (taxee additional} 7754_30

 

 

Price discounts are dependent on quantities cf items listed and all items must be ordered at the same time.

The undersigned aflirms that they have the authority to enter into this agreement nn bchelt`oi the Client end agrees that the OlvtN!l’O'l`l`£L`l~l Rate
Schedule is incorporated herein. Authorized representatives ol`Ciient and OMNIPO'l`t*.`Cl~l have road the documents listed above and agree and
accept such terms effective as ol` the date first referenced below.

 

 
  
  

 

   

 

 

 

 

 

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Signat *' Signuturc: M
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Print N :;(‘~ (_t m "T'lr.l §§ L»~P __W Print Namc: Robert D. Kysling_er
Title: `PQ ('_ &_. \ §§ L.\v':"\'" 'l`itle; Managing (icnei”al Partner
Date: ' (-(¥"` l£\ \“§/ Date: ¢/J/ arc 56""
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A description of all our services ls listed below Plesse note that ali services may not be included on this order fon‘n. We will only deliver the services
listed above.

OMNl-Cloud LaaS lLicensing~as»a-Servico)

OMNIPOTECH has contractual relationships various software vendors including Mlcrosoft, Vl\l'lware, Cltrlx, Veeam. StoragoGraft. Trend Nllcro. Ciirilr.
Scorpion Software, and others to provide software on a month-to-month basis on provider owned infrastructure The client is invoiced only for the
maximum number of users, instances or resources authorized each calendar month. The software is licensed to OMNll'-’OTECH and is the
responsibility of OMNlPOTECH. OMNlPOTECH pays the software vendor automatically on the 5"‘ of each month for all authorized instances The client
has no ownership interest in the licensingl The licensing includes version upgrades et no additional cost as provided byrne software vendor. Pricing will
be automatically adjusted based upon price changes made by the various providers and will be reflected on the next monthly invoicel Many of our
services include provider owned licensing in order to dellverthe service to the client; i.e., OMNl-Backup Appliance,

OMNi- Cioud laaS (lnfrastructure-as-a-Servlce)

OMNlPOTECH provides redundant SSAE16 datacenter infrastructure for hasting any operating system

Multi~providor redundant bandwidth. high availabllltyl firewalis and switches physical or virtual servers. ciustered high-availability
and fault-tolerant virtual server environment redundant SAN storage and redundant SAN network

F.'»irrci<upl business continuity, monitoringl and security services

Business'hours support is included for all issues related to the OMNlPOTEGH infrastructure and services listed in 1 8. 2 above
Client has an administrative account to the hosied infrastructure and is responsible for remedieting issues relating to the heated
o re in m and li at'on

Client is responsible for all destttop issues and infrastructure issues located outside the datacenter

Client can request time and materials support for any service or issue regardless of location based upon the rate schedule
agreement `

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rear

OMNl£loud PaaS (Platform"as-a-Service}
includes all the features of OMNl-Cloud laaS (lnfrastructure~as-a-Service)
i. Business-hours support is extended to cover the operating system and any software provided by OMle-"OTECH under OMNt-Cioud
LaaS located in the datacenter environment
2. Client has limited administrative rights to the hosth infrastructure and rs responsible for issues relating tca allagglications not
enumeration
3. Client is responsible for all desktop issues and infrastructure issues located outside the datacenter
4_ Client can request time and materials support for any service or issue regardless allocation based upon the rate schedule
agreement

OMN|-Cioud DaaS {Datacenter-as-a-Servlce}
includes all the features of OMNl-Cloud PaaS (Plattorrn-as-e-Servioe)
i. Business-hours support is extended to cover the operating system. software provided by OMNtPOTECH under OMN|~Cloud LeaS
and third-party applications located in the datacenter environment
2. Client has (typicaliy) no administrative rights and relies upon OMN|POTECH for remediation of the heated environment
3. Client is responsible for all desktop issues and infrastructure issues located outside the datacenter
4 Client can request time and materials support for any service or issue regardless of location based upon the rate schedule
agreement

OMNl- Backup Appllance
We feel that the protection of a client' s data rs our greatest responsibility The quantities listed for monthly recurring services will adjust lower
or higher automatically each month based upon actual quantities The OMN|- Backup Appliances are the property of ONlNiPOTECH and must
be returned if the services for OMNI*Bacttup Appilance or ONlNi-Backup Storage are canceled The OMNl-Bacl-rup Appllance provides a fully~
monitored backup and business continuity solution The OMN|-Beckup Otfsita Storage option can be added to the OMNi~Baclrup Appiiance to
collect and transfer your critical date offsite for a complete disaster recovery solutionl

OMNl-Backup Offsite Storage
The OMNl-Backup Ofi'site Storage option transfers your critical data offsite

OMNl-Care Desktop
Agent performs the following proactive maintenance and monitoring tasks which are setup on a recurring basls:

1. agent automatically generates a hardware and software inventory for each system

2. analyzes the herd dile to determine tree/used space

3. performs a night-time scandisk to check the tile system for issues

4. S.M.A.R.T - self monitoring and reporting technology which provides predictive failure notiucations from the oomputer's BiOS to the
OMNl~Care Agent

5. performs a S.M.A.R.Tr scan to determine litho hard disks have any physical damage

` 6. performs a disk defragmentatlon

7. purges all temporary files from the computer

B. instatls the latest Microsott updates

9. automatically restarts failed Mlcroaort services

10. automatically creates a ticket in the event the system has en error

11. Updates Adohe Acrobat Reader. Adobe Flash, Adobe Shockwave, Adobe Alr, r`l'unes, QuickTime, Java and other popular programs
to the latest security patches

12. Provides a system tray icon to allow the user to initiate a ticket and includes an option to add a screenshot of the error message to
ensure accurate communication of the error message and desktop settings at time cf error

13. Oilel-Cere agent can also perform many other security features like denying users the ability to copy date to USB drives

14. OiVlNl-Care Managed Desktop Security is installed and conrigurecl according to management's security policy

 

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OMNt~Care Server

Agent performs the foliowing proactive maintenance and monitoring tasks which are setup on a recurring basis:

1.
2.

3.

Same features as the OMNl-Care Desktop agent plus

Enumerates all active Microsott~t)ased system services and generates automatic alert notifications to monitor these services for
faiiures

External monitoring is enabled on the existing internet circuits to monitorthe availability of the internet service providers equipment

OMNi~Care Manegod Desktop Security:

1.

@@a@w

.`*‘

Antivirus protection

Anti-malware protection

Anti-spyware protection

Behavior monitoring of disk activities

Managed tirewail policy with automatic security policy elevation when the computer is removed from the client' s network

URL filtering to control internet access by time of day or deny ail together. For instance only allow iaptops to access Facebook after
5 PM Mon- Fri and on weekends.

A|i security policies are not dependent upon the system residing et the client’s office Systems can be managed as groups and each
group can have unique policies to provide owners, managers or shareholders less restrictive policies

OMNl- Shared Hosting for Websttes

I`*.m!-“PS"!°!“*

Windows 2008 server heating /
SMTP relay

FTP access

Virus protection

Up to 50Gb free space

Uniimited domain aliases

Uniimited monthly data transfers

OMNi-DNS Services

9°.`"'9"9':*5-"!\’;"‘

Menageci DNS heating by OMNEPOTECH engineers

Guaranteed 100% uptime

Giobai lP Anycast clusters spread around the world

Redundancy built upon Cisco and Juniper equipment

DNS defense to prevent DDoS. remote trainc black»ho|ing and bandwidth capacity agreements with upstream providers
Automaled zone comparison on ali DNS eervers giobaily

Suppcrts vaB Service Records weighted load balancing

Optionai automatic DNS record change for specific lP for disaster recovery hot~sites

OMNt-Emall Security Services for Exchange Server

1.

“w@w@wsww

O.

Cloud-based spam, virus, malware and spyware protection

Guarsnteed 99.9% uptime

User managed spam filter a- doesn't require assistance from OMNEPOTECH to whitelist email addresses
Giobal whitelist to ensure deliver of email from clients and vendors

200Mb maximum message size

industry heuristics available

Attachment and content filtering

Secure outbound relay preventing your company from being blackiisted by others

Decreases bandwidth usage on the internet circuit used by your Exchange server

Caches your emaii if your circuit is down or Exchange server is unavailabie for any reason, i.e., power taiiure

OMNt-Monitorln¢ Services

1.
-2.
3.

OMNl-Drive

Monitoring of ciient's telecom provider router for upidown status
Monitoring ot clients internal nrewail for upidown status
Monitoring of clients internal server for tip/down status and other open ports. i.e.` RDF’. SMTP` H'l`|'P/HTTPS, etc.

Provides oniine file sharing for teams, employees who need access to nies offiine, keeping geographically separate servers in sync, file sharing with
third-partiesl and emai|ing attachments too large for email:

~*Pwe¢wawwe

-‘~CJ

Uniimited number of agents for Windows, Apple OSX, and Linux agents - install it at work and horne PC for no additional cost
256-bit AES encryption, on device and in-transit

Centraiiy administered from web browser with comprehensive usage reports
Managed tiie sharing for internaifexternai parties

Granuiar user-access end security controls

Universai tile access; sync across stationary and mobile devices

Remoter wipe computers and devices for inactive employees to protect company data
Acttve Directory integration

Client controlted revision history

Custom deleted file retention periods

Smart aierting system for data usage

 

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Master Services Agreement for

Bl'€"\-|=arg Ne. 5195

BENDCO INC

CLIENT:

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This MASTER SERvICEs AGREEMENT (the "MSA") between
OMNIPO'I`ECH, Ltd. ("OMNIPOTECH") and ("Ch`em") is made
effective as of the date indicated below the Client signature on the
initial Order Form submitted by Client and accepted by
OMNIPOTECH.

ARTICLE l - INTRoDUCTION

l.l Genercrl. This MSA sets forth the terms and conditions of
OMNIPOTECH’s delivery and Client’s receipt of any or all of the
services provided by OMNIPOTECH, including Professional Services.
The specific Services to be provided under this MSA are identified in
the Order Forms submitted by Client and accepted by OMNIPOTECH
and described in detail in the Order Forms and/or Statements of Work
attached to each Order Form. The service levels OMNIPOTECH will
provide to Client for each Service ordered, other than Professional
Services, are defined in detail in the Service Level Agreements. Each
Service Level Agreement and Order Form submitted, accepted and
executed by both parties is hereby incorporated by reference into this
MSA. This MSA is intended to cover any and all Services ordered by
Client and provided by OMNIPOTECH. Any terms set forth in this
MSA which apply specifically to a service not ordered by Client, will
not apply to Client.

1.2 Dejinirions. Capitalized terms used and not elsewhere defined in
this MSA, have the meanings given them in “Schedule 1.0 -
Definitions” to this MSA.

ARTICLE 2 - DELivERY or SEvacEs AND TEaM
2.1 De!r'very of Services

(a) General. By submitting an Order Form, Client agrees to take
and pay for, and, by accepting the,Order Form, OMNIPOTECH agrees
to provide, the Services specified on the Order Forms during the lnitial
Term and for any Renewal Term, as specified in Section Z.Z(b).

(b) Deh'very of Supplememal Services The purpose of this
provision is to enable OMNIPOTECH to provide Client with certain
limited services and equipment needed by Client on a “one~of`f” or
emergency basis (“Supplementcrl Services”) where such services are not
included within the scope of the Services as described in the Order
Form and/or Statements of Work. Supplemental Services may include,
as an example, a request from Client to OMNIPOTECH via ticket or
telephone that OMNIPOTECH replace Client-owned hardware with
OMN`IPOTECH hardware for a temporary period of time. Client
agrees to pay OMNIPOTECH the approved fees charged by
OMNIPOTECH for Supplemental Services as listed in the Rate
Schedule. OMNIPOTECH will use commercially reasonable efforts to
provide Supplernental Services, provided that OMNIPOTECH has no
obligation to determine the need for or provide Supplemental Services.
All Supplemental Services provided pursuant to this Section 2.l(b)
and/or Section 2.1(c) are provided on an “as-is” basis and exclude
warranties of any kind, whether express or implied.

(C) Det'r`very OfSupplemerital Services on cm Emergency Basis. fn the
event OM`NIPOTECH reasonably determines that Supplemental
Services an'e required on au emergency basis, OM`N'IPOTECH may
provide such services without the consent of Client, thereafter provide
notice of the services to Client and bill Client a reasonable fee for such
services. Client agrees to pay OMNIPOTECH the fees charged by

OMNIPOTECH for Supplemental Services required on an emergency
basis. Client indicates its acceptance or rejection of this Section 2.l(c)
by initialing the applicable response below. If rejected, the provisions
of this Section 2.1(c) relating to delivery of Supplemental Services on
an emergency basis shall not constitute a part of this MSA. Client
acknowledges that if this Section 2.l(c) is rejected, Client’s consent
will be required before the provision of any Supplemental Services. By
initialing the rejection response below, Client agrees to

(i) waive all causes of action against OMNIPOTECH, and

(ii) forever hold OMNIPOTECH harmless,
for any and all damages arising out of OMNIPOTECH’s failure to act
during any delay period required to obtain Client’s consent to provision
of Supplemental Services. AC capt

Accept Reject
(d) Bil!r`ng for Supplemema! Services. Client will be charged for
Supplemental Services in the invoice issued the month following
delivery of the Supplemental Services.

2.2 Term ofSe.»“vi'ce.r.

(a) Commencement affairial Term. The term for each Service will
COrnmence On the Service Commencement Date indicated in the Notice
of Service Commencement delivered by OMN`II’OTECH to Client
when OMNIPOTECH begins providing each Service to Client and
continue for the Initial Term.

(b) Renewal Terms. Each Service will continue automatically for
additional terms equal to the Initial Term (“Renewal Term”) unless
Client notifies OMN`[POTECH in writing at least thirty calendar (30)
days prior to the end of the Initial Term or a Renewal Term, as
appiicable, that it has elected to terminate such Service, in which case
such Service shall terminate at the end of such term. The termination
of one Service will not affect Client’s obligations to pay for other
Services even within the same order form. Notwithstanding the
foregoing, OMNIPOTECH may change the term or change or increase
the prices it charges Client for any Service at any time after the order
execution effective thirty calendar (30) days after providing written
notice to Client. Except as otherwise expressly provided in this MSA,
OMNIPOTECH is obligated to provide and Client is obligated to pay
for each Service through its lnitial Term and any Renewal Term.

ARTlCLE 3 - PAYMENT ”[ERMS FoR FEEs, ExPENsEs, MaRCHANDlsE

3.] Fees and Expenses. Client will pay all fees and expenses due
according to the prices and terms listed in the Order Forms. The prices
listed in the Order Forms Will remain in ef`f`ect during the Initial Term
indicated in the Order Forms and will continue thereafter, unless
modified in accordance with Section 2.2(b). '

3.2 Payment Terms. On the Service Commencement Date for each
Service, Client will be billed an amount equal to all non-recurring
charges indicated in the Order Form and the monthly recurring charges
f`or the first month of` the term. Monthly recurring charges f`or all other
months will be billed in advance of the provision of Services. Monthly
recurring charges must be paid via ACH on or before the payment due
date. All other charges for Services and expenses incurred during a
month (e.g., time and materials billing fees, travel expenses, etc.) will
he billed at the end of the month in which the Services were provided
Payment for all fees and expenses is due upon the invoice due date of

 

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each OMNIPOTECH invoice and will be paid via ACH. Rejected
ACH attempts will be charged seventy-nine dollars ($79.00), plus Late
Payments, if applicable. All payments will be made in the United
States, from aUnited States bank and delivered solely in U.S. dollars

3.3 Late Payments, Any payment not received upon the due date
will accrue interest at a rate of one percent (l%) per month, or the
highest rate allowed by applicable law, whichever is higher. If Client is
ever delinquent in its payments, OMNIPOTECH may, upon written
notice to Client, modify the payment terms to require hill payment
before the provision of all Services or require other assurances to
secure Client’s payment obligations under this MSA, OM`NiPOTECH
has the right to deny services until payment has been received.

3.4 Taxes. All fees charged by OM`NIPOTECH for Services are
exclusive of all taxes and similar fees now in force or enacted in the
future imposed on the transaction or the delivery of Services, all of
which Client will be responsible for and will pay in full, except for
franchise taxes and taxes based on.OMNIPOTECH’s net income.

3.5 Cash Discounts. All pricing reflects a three percent (3%) cash
discount Client agrees that OMNIPOTECH may charge any invoice at
least five (5) days past due, plus accrued interest charges, to a Client
credit card and Client hereby agrees to pay a credit card fee equal to
three percent (3%) of the total amount charged.

3.6 Co!lection Costs. Cost of collection, including reasonable
attorney‘s fees, shafl be borne by Client. Client agrees merchandise
remains the property of Provider until paid in full.

3.7 Merchnndise Purchases. OM`NIPOTECH does not guarantee
the availability of products quoted, Ol\/l`l\lIPOTECH may offer for sale
items that are demonstration units, refurbished, or used and Client
agrees that all such items are sold AS-IS and cannot be returned. All
unopened hardware may be returned within 30 days. There is a ten
percent (10%) restocking fee on ail items except special-order items.
There is a twenty percent (20%) restocking fee on special-order items.
Soi’rware cannot be returned. All hardware is sold with a
manufacturer's warranty only; no additional warranty is offered by
OMNIPOTECH.

ARTICLE 4 - CONFIDENTIAL INFoRMATIoN; INTELLECTUAL PROPERTY
OWNERSHIP; LICENsF. GRANTs

4.1 Confidentia! Information.

(a) Nondr`sclosure of Confidentz'al Injbrmatr`on. Each party
acknowledges that it will have access to certain confidential
information of the other party concerning the other party's business,
plans, Clients, technology, and products, and other information held in
confidence by the other party (“Conjidentr'al Inji)rmntr'on”).
Confidential Information will include all information in tangible or
intangible form that is marked or designated as confidential or that,
under the circumstances of its disclosure, should be considered
confidential. Confidential Information will also include, but not be
limited to, OMNIPOTECH technology, Client technology, and the
terms and conditions of this MSA and all documents incorporated by
reference into this MSA. Each party agrees that it will not use in any
way, for its own account or the account of any third party, except as
expressly permitted hy, or required to achieve the purposes of`, this
MSA, nor disclose to any third party (except as required by law or to
that party’s attorneys, accountants and other advisors as reasonably
necessary), any of the other party's Confidential Information. Each
party also agrees that it will take reasonable precautions to protect the
confidentiality of the other party's Confidential Information, at least as
stringent as it takes to protect its own Confidential Information.

(b) Excepn'ons. Information will not be deemed Confidential
Information under this MSA if such information: (i) is known to the
receiving party prior to receipt from the disclosing party directly or
indirectly from a source other than one having an obligation of
confidentiality to the disclosing party; (ii) becomes known
(independently of` disclosure by the disclosing party) to the receiving
party directly or indirectly from a source other than one having an
obligation of confidentiality to the disclosing party; (iii) becomes
publicly known or otherwise ceases to be secret or contidential, except
through a breach of this MSA by the receiving party; or (iv) is
independently developed by the receiving party. The receiving party
may disclose Confidential Information pursuant to the requirements of
a governmental agency or by operation of law, provided that it gives
the disclosing party reasonable prior written notice sufficient to permit
the disclosing party to contest such disclosure

4.2 Intet'lecrna[ Property.

(a) Ownershr`p, Except for the rights expressly granted in this
MSA, this MSA does not transfer from OMNIPOTECH to Client any
OMNIPOTECH technology, and all right, title and interest in and to
OMNIPOTECH Technology will remain solely with OMNIPOTECH.
Except for the rights expressly granted in this MSA, this MSA does not
transfer from Client to OMNIPOTECH any Client technology, and all
right, title and interest in and to Client technology will remain solely
with Client. OMNIPOTECH and Client each agree that it Will not,
directly or indirectly, reverse engineer, decompile, disassemble or
otherwise attempt to derive source code or other trade secrets from the

other party.

(b) Genem! Skills and Know[edge. Notwithstanding anything to
the contrary in this MSA, OMNIPOTECH will not he prohibited or
enjoined at any time by Client fiom utilizing any skills or knowledge of
a general nature acquired during die course of providing the Services,
including, without limitation, information publicly known or available
or that could reasonably be acquired in similar work performed for
another Client of OMNIPOTECH.

4.3 License Grants.

(a) By OfldNIPOTECH OMNII’OTECH hereby grants to Client
a nonexclusive, royalty-free license, during the term of this MSA, to
use the OMNIPOTECH technology solely for purposes of using the
Services. Client shall have no right to use the OMNIP.OTECH
technology for any purpose other than using the Services,

(b) By Client. Client agrees that if`, in the course of performing
the Services, it is necessary for OM`NIPOTECH to use Client
technology, OMNIPOTECH is hereby granted and shall have a
nonexclusive, royalty-free license, during the term of this MSA, to use
the Client Technology solely for the purposes of delivering the Services
to Client. OMNIPOTECH shall have no right to use the Client
Technology for any purpose other than providing the Services.

ARTICLE 5 - OMNIPOTECH REPRESENTATIONS AND WARRANTIES
5.1 General.

(a) Authorify and Performance of Or'l/HVIPOTECH.
OMNIPOTECH represents and warrants that (i) it has the legal right
and authority to enter into this MSA and perform its obligations under
this MSA, and (ii) the performance ot` its obligations and delivery of the
Services to Client will not violate any applicable U.S. laws or
regulations, including OSHA requirements, or cause a breach of any
agreements with any third parties. In the event of a breach of the
warranties set forth in this Section 5.1(a), Client’s sole remedy is
termination pursuant to Article 10.

 

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(b) Data Comp!iance. OMNIPOTECH warrants that none of the
computer hardware and software systems and equipment incorporated
into or utilized in the delivery of the Services contains any date
dependent routines or logic which will fail to operate correctly by
reason of such date dependence; provided, however, that no
representation or warranty is made as to the adequacy of any Client or
third party service provider hardware or software used in connection
with the Services In the event of any breach of the warranties under
this Section 5.1(b), Client’s sole remedy is termination pursuant to
Article 10 of this MSA,

5 .2 Service Warranties.

(a) Service Level Warranty. Subject to the exceptions set forth in
the Service Level Agreement applicable to a specific Service,
OMN'[POTECH warrants that it will provide each Service at or above
the service levels defined in the applicable Service level Agreement
(the “Servr'ce Level Warrantjf’).

(b) Remedies. In the event that OM`NIPOTECH fails to provide a
Service at the level required by the Service Level Warranty, Client’s
only remedies are those set forth in the Service Level Agreement
applicable to that Service (the “Remedi'es”).

(c) Client Must Request Remedies. fn order to receive any of the
Remedies, Client must notify OMNIPOTECH in writing within seven
(7) days from the time Client becomes eligible to receive such
Remedies. Failure to comply with this requirement will forfeit Client’s
right to receive such Remedies.

(d) Remedies Shall th Be Cumulative,' Maxz'mum Remedy. The
Rernedies set forth in each Service Level Agreement are not
cumulative The aggregate maximum Remedy for any and all failures
to provide Services at the level required by a particular Service Level
Agreement that occur in a single calendar month shall not exceed the
maximum set forth in such Service Level Agreement.

(e) Termination Option for Chronic Problems Client may
terminate the Service Level Agreement for a specific Service if the
Client experiences Chronic Problems (as defined in the applicable
Service Level Agreement) with such Service. If the Service Level
Agreement for a specific Service so provides, Client may terminate this
MSA if Client experiences Chronic Problems with such Service. Client
must provide OMNIPOTECH written notice of termination for Chronic
Problems as specified in the Service Level Agreement and such
termination will be effective as provided in the Service Level
Agreement.

(f) THE sERvICE LEvEL wanaAN“rY sET roan-t 1N THls sacrroN 5.2
DoEs No"r APPLY To (r) ANY Paor=EssroNAL Sanvlcas; (n) ANY
SUPPLEMENTAL SaercEs; on (ul) ANY SEvacEs THAT ExPREssLY
Excr.ur)a Tms saavrca LEvaL wantiner (As sTArao rN run Sr-;avrca
LuvuL AGREEMENTS ron suCH Saavrcas).

5.3 Service Performance Warmmy. OMNIPOTECH warrants that it
will perform the Services in a manner consistent with industry
standards reasonably applicable to the performance thereof.

5.4 No Orher Wnrramy. ExcEPT ron THE ExPREss wARRANTrEs sat
FoRTH IN ARTICLE 5, THE SERvICEs ARE PaoleED oN AN "As rs" easrs,
AND CLrENT's usa or THE SEvaCEs ls AT irs owN Rrsx. OMNIPOTECH
DoEs NoT MAKE, AND brenner nrscLAlMs, ANY AND ALL o'rHER ExPsEss
0R IMPLIED wAnRANTIEs, INCLUDING, sur Nor LerrED To, wAaRANTrEs
or MERCHANTABIL:TY, FITNESS FOR A PARTICULAR PURPosE,
NoNiNFRlNGEMENT AND TrrLE, AND ANY wARRANTIEs ARISING FROM A
cOURsu or DEALING, USAGE, OR TRADE PRACTICE. OMN]POTECH DoEs

NOT WARRANT THA'[` THE SE,RVICES WILL BE UNINTERRUPTED, ERROR-
FREE, OR COMPLETELY SECURE.

5.5 D!Sciat`mer ofActiorrs Cau.s'ed by or Under the Control ofThird
Parn'es. OMNIPOTECH DoEs NOT AND cANNoT CoN'rRoL THE FLow or
DATA To on FROM OMNIPOTECH’S NETwORK AND orr-tea PoRTlONs OF
THE rNrEaNET. SUCH FLow DEPENDS u~i LARGE PART oN THE
PERFORMANCE or lNTERNET sEerCEs PRoerED on CoNTRoLLED ar
THIRD PARTrEs. AT rlMEs, AcrroNs on rNAcTroNs or sucn Tr-nno
PARTIES CAN IMPAIR on DrsRuPT CLIENT’s CONNECTroNS To THE
INransr (on PoanoNs THEREOF). ALTr-rouou OMNIPOTECH writ
usE CoMMEaCrALLv RaAsoNABLE arrears To TAKE ALL ACTioNs t'r
DEaMs APPRoaRrATE ro REMEDY AND Avolo suCH EvENTs,
OMNIPOTECH CANNOT GuARANTEE THAT suCH avENTs wILL Nor
occuR. AccoRDrNcLY, OM`NIPOTECH DrscLAlMs ANv AND ALL
LrABrLlTY RESULTING FRoM on RELATED ro sucn avENTs.

AarrcLE 6 - CLIaNT REPRESENTAnoNs, WARRANTIES AND
OBL,IGATloNs

6.1 Representntions and Warrantz'es ofClient.

(a) Authari'ty and Perj’ormance. Client represents and warrants
that (i) it has the legal right and authority to enter into this MSA and
perform its obligations under this MSA, and (ii) the performance of its
obligations and use of the Services (by Client, its Clients and users)
will not violate any applicable laws, regulations or the Acceptable Use
Policy or cause a breach of any agreements with any third parties or
unreasonably interfere with other OMNIPO'I`ECH Clients’ use of
OMN[POTECH services '

(b) Breach of Warrnntz'es. In the event of any breach of` any of the
foregoing warrantiesl in addition to any other remedies available at law
or in equity, OMN`[POTECH will have the right, in its sole reasonable
discretion, to suspend immediately any related Services if deemed
reasonably necessary by OMNlPOTECH to prevent any harm to
OMNIPOTECH and its business OMNiPOTECH will provide notice
and opportunity to cure, if practicable, depending on the nature of the
breach. Once cured, OMNIPOTECH will promptly restore the
Services.

6,2 Complr'ance with Law ondAceeptnf)le Use Policy. Client agrees
that it will use the Services only for lawful purposes and in accordance
with this MSA. Client will comply at all times with all applicable laws
and regulations and the Acceptable Use Policy, as updated by
OMNIPOTECH from time to time. The Acceptable Use Policy are
incorporated into this MSA and made a part of this MSA by this
referencel OMNIPOTECH may change the Acceptable Use Policy
upon fifteen (15) days’ notice to Client, which notice may be provided
by posting such new Acceptable Use Policy at the OMNIPOTECH
Web site www.OMNiPOTECH.com. Client agrees that it has received,
read and understands the current version of the Acceptable Use Policy.
The Acceptable Use Policy contains restrictions on Clients and Client’s
users’ online conduct (including prohibitions against tmsolicited
commercial email) and contains penalties for violations of such
restrictions Client agrees to comply with such restrictions and, in the
event of a failure to comply, Client agrees to be subject to the penalties
in accordance with the Acceptable Use Policy. Client acknowledges
that OMN'lPOTECH exercises no control whatsoever over the content
of the information passing through Client’s sites and that it is the sole
responsibility of Client to ensure that the information it and its users
transmit and receive complies with all applicable laws and regulations
and the Acceptable Use Policy.

6.3 Access and Securi!y. Except with the advanced written consent
of OMNIPOTECH, Client’s access to the OMN'[POTECH Data
Centers will be limited solely to the Representatives as set forth in the

 

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Client Registration Form which is hereby incorporated by reference
into this MSA, Representatives may only access the OMNIPOTECH
Data Centers When accompanied by an authorized OMNIPOTECH
representative

6.4 Re.rrricrr'ons on Use ofServr‘ces. Client shall not, without the
prior written consent of OMNIPOTECH (which may be withheld in its
sole discretion), resell the Services to any third parties.

ARTrCr.e 7 ~ INSURANCE

7.1 OMVIPOTECH Mirrt'mum Levels. OMNIP()TECH agrees to
keep in full force and effect during the term of this MSA: (i)
comprehensive general liability insurance in an amount not less than $l
million per occurrence for bodily injury and property damage and (ii)
workers' compensation insurance in an amount not less than that
required by applicable law, if any. OMN'[POTECH agrees that it will
ensure and be solely responsible for ensuring that its contractors and
subcontractors maintain insurance coverage at levels no less than those
required by applicable law and customary in OMNIPOTECH’s and its
agents’ industries

7.2 Client Minimum Leve[s. In order to provide Clients with
physical access to facilities operated by OMNIPOTECH and equipment
owned by third parties, OMNIPOTECH is required by its insurers to
ensure that each OMNIPOTECH Client maintains adequate insurance
coverage Client agrees to keep in full force and effect during the term
of this MSA: (i) comprehensive general liability insurance in an
amount not less than $100,00() per occurrence for bodily injury and
property damage and (ii) workers compensation insurance in an amount
not less than that required by applicable law, if any. Client agrees that
it will ensure and be solely responsible for ensuring that its agents
(including contractors and subcontractors) maintain insurance coverage
at levels no less than those required by applicable law and customary in
Client’s and its agents’ industries

7.3 Cert{fr`cate.r of Insumrzce,' Namr'rrg OMVIPOTECH as an
Addr'tz'onal Insured. Prior to any access of the OMNIPOTECH Data
Centers by any Representative or other agent or employee of Client,
Client will (i) deliver to OMNIPOTECH certificates of insurance which
evidence the minimum levels of insurance set forth above; and (ii)
cause its insurance providers to name OMNIPOTECH as an additional
insured and notify OMNIPOTECI-I in writing of the effective date
thereofl

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8.1 Personal Injury. EACr-r RePREsENTATrve AND ANY oTHEn PeRsoN
vrsrTrNG AN OMNIPOTECH DATA CENTER moss so AT rTs owN Rrsr<.
OMNIPOTECH Assurvres No LrAerr.rTY wHArsoevEn FoR ANv HARM To
sUCH PERsoNs RESULTING FROM ANY CAusE ornea THAN THE
NeGLrGeNCE on wlLLFUL MISCONDUCT OF OM`NIPOTECH.

8.2 CONSEQUENTJAL DAMAGES WAWER. ExCePT ron A BREACH or
SEcTroN 4.1 (“CoNFrDeNTrAr. INFORMATroN”) or THrs AGREEMENT, rN
No event erL erTHER PARTY BE LIABLE OR ResPoNsreLE 'ro THE orrren
roe ANY "rvre or rNCrnENTAL, exeMPLAn\/, sPEcrAL, PUNrTrve, rNorRecr
OR CoNseQueN"nAr. DAMAGes, rNCr.UorNG, sur Nor Lrlvrrreo ro, Losr
REvENUe, Losr PRoerrs, RePLAceMeNT oooos, Loss or TECHNoLoGY,
RroHTs on seavlces, Loss oF DATA, on rNTERRUPrioN on Loss or Use or
seavrce on eQUrPMENT, EveN IF ADvrsEt) or THE PossrBrLITY oF sUCH
DAMAGr-:s, wHeTHeR AnrerG UNDER Tr-reoav or CoNTRACT, ToRT
(rNcLuDrNG NEoLrGeNcE), s'rnrc'r LrAererv on oTHERwrse. Funrnee,
NO CAUSE OF AcnoN erCH ACCRUED tyrone THAN Tr-rnee (3) MONTHS
PRroR To Tne FrLrNG or A sur'r ALLeGrNG sucn cAUse or AcTroN MAY ne
AssERTen AGAINST OMNIPOTECH.

3.3 Basr's ofthe Bargar`n,' Fail'ure ofEs.rential Purpose. The parties
agree that the limitations and exclusions of liability and disclaimers
specified in this MSA represent the parties’ agreement as to the
allocation of risk between the parties in connection with
OMNIPOTECH’s obligations under this MSA and that such
limitations, exclusions and disclaimers will survive and apply even if
found to have failed of their essential purpose. The parties
acknowledge that OMNIPOTECH has set its initial prices and entered
into this MSA in reliance upon the limitations of liability, the
disclaimers of warranties and damages and payment via ACH set form
in this MSA, and that the same form an essential basis of the bargain
between the parties.

AR'rrcLe 9 - lNDeMNrFrCATroN

9.1 lademrrr`ficarr'on. Each party will indemnify, defend and hold the
other harmless from and against any and all costs, liabilities, losses, and
expenses (including, but not limited to, reasonable attorneys' fees)
(collectively, “Losses”) resulting from any claim, suit, action, or
proceeding (each, an “Actr'on") brought by any third party against the
other or its affiliates alleging (i) the infringement or misappropriation
of any intellectual property right relating to the delivery or use of the
Services (but excluding any infringement contributorily caused by the
other party); (ii) personal injury caused by the negligence or willful
misconduct of the other party; and (iii) any violation of or failure to
comply with the Acceptable Use Policy.

9.2 Norice. Each paity’s indemnification obligations under this
MSA shrdl be subject to (i) receiving prompt written notice of the
existence of any Action; (ii) being able to, at its option, control the
defense of such Action; (iii) permitting the indemnified party to
participate in the defense of` any Action; and (iv) receiving fi.rll
cooperation of the indemnified party in the defense thereof

ARTICLE 10 - TenMrNATroN

10.1 Terminarion For Cau.re. Either party may terminate this MSA,
effective as of the date specified in written notice of termination
provided to the other party, if; (i) the other party breaches any material
term or condition of this MSA and fails to cure such breach within
thirty (30) days after receipt of written notice of` the same, except in the
case of failure to pay fees, which must be cured within five (5) calendar
days after receipt of written notice fiom OMNIPOTECH; (ii) the other
party becomes the subject of a voluntary petition in bankruptcy or any
voluntary proceeding relating to insolvency, receivership, liquidation,
or composition for the benefit of creditors; or (iii) the other party
becomes the subject of an involuntary petition in bankruptcy or any
involuntary proceeding relating to insolvency, receivership, liquidation,
or composition for the benefit of creditors, if such petition or
proceeding is not dismissed within sixty calendar (60) days of filing.

10.2 Termi`nntr`on on Expr‘rnrr`on of all Services Either party may
terminate this MSA, effective as of` the date specified in written not_ice
of termination provided to the other party, if all Services have been
terminated in accordance with the procedures in Section 2.2(b) or if no
Order Forms are in effect

103 No Liabi[ityfor Termi'nation. Neither party will be liable to the
other for any termination or expiration of any Service or this MSA in
accordance with its terms.

10.4 E)j€ecr of Termr'narr`on. Upon the effective date of termination
of this MSA:

(a) OM`NIPOTECH will immediately cease providing the
Services;

 

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(b) any and all payment obligations of Client under this MSA for
Services provided through the date of termination will immediately
become due. A termination notice is invalid if a past due balance
exists; therefore, the Client must bring the account balance to zero in
order to submit a termination notification. A termination notification by
Client other than a ‘for cause’ termination will be invalid unless full
payment of all outstanding invoices, and future services to be provided
through the termination date, is received by OMNiPOTECH widlin ten
calendar (10) days of Client’s termination notification.

(c) within ten calendar (10) days of such termination, each party
will return all Confidential Inforrnation of the other party in its
possession and will not make or retain any copies of such Confidential
Information except as required to comply with any applicable legal or
accounting record keeping requirement; and

(d) Client will pay to OMNIPOTECH all expenses incurred by
OMNIPOTECH to return Clients’ Confidential Information, including,
but not limited to, labor costs and the cost of storage media.
OMNIPOTECH has the right to request payment of any and all
invoices and unbilled services prior to the return of Clients1
Confldential Information.

10.5 Terminnrfon Assistance. Notwithstanding the provisions of
Section 10.4, upon the termination of this MSA for any reason,
OMNIPOTECH will provide to Client such termination assistance
relating to the Services, at Ol\/,[N`lPOTECH’s then current standard
rates, as may be reasonably requested in writing by Client.
OMNIPOTECH’s obligation to provide assistance pursuant to this
Section 10.5 is limited to a period of fifteen calendar (15) days (the
“Assz'srance Perioa"’). Client will pay OMN`IPOTECH, on the first day
of the Assistance Period and as a condition to OMN"IP()TECH’s
obligation to provide termination assistance to Client during the
Assistance Period, an amount equal to OMNIPOTECH’s reasonable
estimate of the total amount payable to OMNIPOTECH for such
termination assistance for the Assistance Period,

10.6 Continuation of Services. Notwithstanding the provisions of
Section 10.4, Client shall have the option, exercisable upon
termination, by delivery of written notice to OMNIPOTECH, to
continue the Services and this MSA on a month-to-month basis alter
the termination date or the expiration date, as applic.able, for the then
applicable fees set forth in the Order Forms. Client shall have the right
to have this MSA continue on a monthly basis pursuant to this Section
10.6 for up to three months. If this MSA is terminated by
OMNIPO'IECH, the Client will pay OMN"[POTECI-I, on the first day
of each month and as a condition to OMN'IPOTECH’s obligation to
continue to provide the Services to Client during that month, an amount
equal to OMNIPOTECH’s reasonable estimate of the total amount
payable to OMNIPOTECH for such Services for that month. No pro-
rata or partial month services will be allowed.

10.7 Survival. The following provisions will survive any expiration
or termination of this MSA: Articles 3, S, 9, 10 and ll (excluding
Section 11.2) and Sections 4.1, 4.2, and 5.4.

lO.S Responsibilr'ties of Client Upon Termin‘atz'on No!r`jicatiou. A
termination notification by Client will be invalid unless full payment of
all outstanding invoices, all unbilled products or services, all unpaid
project payments including interest, the remaining contract value of the
current term, and all fiiture services to be provided through the
termination date is received by OMNIPOTECH within ten calendar
(10) days of Client’s termination notification

10.9 Termination for Convenz'ence. Client can terminate the
contract with one hundred (100) calendar day's notice for any reason
after the completion of` the first initial term for each order form. In

addition to all the provisions in Sections 10.4(a), 10.4(b), lO.fl(c), and
10.4(d), Client herein agrees to pay the remaining contract value for all
Services on each Order Form through the current term in which the
termination request has been made. No pro-rata or partial month
services will be allowed.

ARTICLE l 1 -MlsCELLANEous PaovlsioNs

ll.l Force Majeure. Except for the obligation to make payments,
neither party will be liable for any failure or delay in its performance
under this MSA due to any cause beyond its reasonable control,
including, but not limited to, acts of war, acts of God, earthquake,
flood, embargo, riot, sabotage, terrorism, labor shortage or dispute,
governmental act or failure of the Intemet (not resulting from the
actions or inactions of OM`NIPOTECH) (each a “Force Majeure
Evenr”), provided that the delayed party: (a) gives the other party
prompt notice of such cause, and (b) uses its reasonable commercial
efforts to promptly correct such failure or delay in performance If
OMNIPOTECH is unable to provide Services for a period of thirW
calendar (30) consecutive days as a result of a continuing Force
Majeure Event, Client may cancel the Services and this MSA on
written notice to OMNIPOTECH with no further payment obligation
for the remaining monthly contract term under this MSA and all related
Service Orders. Such termination will be effective on the date
specified in the written notice.

11.2 No Lease,' Agreement Subordinate to Master Lease. This MSA
is a services agreement and is not intended to and will not constitute a
lease of any real property. Client acknowledges and agrees that (i) it
has been granted only a license to use the OMNIPOTECH Data Centers
in accordance with this MSA; (ii) Client has not been granted any real
property interest in the OMNIPOTECH Data Centers; (iii) Client has
no rights as a tenant or otherwise under any real property or
landlord/tenant laws, regulations, or ordinances; (iv) this MSA, to the
extent it involves the use of space leased by OM'NIPOTECH, shall be
subordinate to any lease between OMNTPOTECH and its landlords;
and (v) the expiration or termination of any such lease shall terminate
this MSA as to such property subject to Client retaining any rights or
claims it may have against OMNTPOTECH arising from the expiration
or termination of such lease. Client hereby waives and releases any
claims or rights to make a claim that it may have against the landlords
under any lease by OMNIPOTECH with respect to any equipment or
property of Clients’ located in the premises demised to OM'N]POTECH
by such landlordsl

11.3 Marketr‘ng. Neither party will not use the name, trademark,
service mark, logo, website address, and likeness of website on their
own website, press releases, marketing and advertising materials

ll.4 Governmem Regulan'ons. Client will not export, re-export,
transfer, or make available, whether directly or indirectly, any regulated
item or information to anyone outside the U.S. in connection with this
MSA without first complying with all export control laws and
regulations which may be imposed by the U.S. Govermnent and any
country or organization of nations within whose jurisdiction Client
operates or does businessh

11.5 Non-So!icitcrion. During the term of this MSA and continuing
through the first anniversary of the termination of this MSA, Client
agrees that it will not, and will ensure that its affiliates do not
knowingly, directly or indirectly, solicit or attempt to solicit for
employment any agent or employee of OMNIPOTECH, or any former
OMNIPOTECH agent or employee within one hundred eighty three
(183) calendar days of that agent or employee’s termination or
resignation from OMNIPOTECH. OMNIPOTECH will provide Client
notification of any employee or agent terminated by OMN]POTECH
during the term of this MSA.

 

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If employment begins with the Client or its affiliates occurs during the
exclusion period, the parties hereby agree that OMNIPOTECH will be
damaged, but that the amount of this damage will be difficult to
ascertain Accordingly, the parties agree that for each such agent,
consultant or employee, directly or indirectly employed or utilized as
an employee, consultant or independent contractor by Client within
such period, Client will pay OMNIPOTECH three times the total
annual cost of the cmployee, including the total value of benefits, taxes
and other costs of $150,0()0 as liquidated damages or an amount
equivalent to the sum of all products and services provided under the
duration of this MSA, for all order forms, whichever is greater.

11.6 No Third Party Benej‘iciar'ies. OMNIPOTECH and Client
agree that, except as otherwise expressly provided in this MSA, there
shall be no third party beneficiaries to this MSA, including but not
limited to the insurance providers for either party or the Clients of
Client.

ll.7 Governing Law,‘ Dispute Resolutr'on. This MSA and the rights
and obligations of the parties created hereby will be governed by and
construed in accordance with the internal laws of the State of Texas
without regard to its conflict of law rules and specifically excluding
from application to this MSA that law known as the United Nations
Convention on the International Sale of Goods. The parties will
endeavor to settle amicably by mutual discussions any disputes,
differences, or claims whatsoever related to this MSA. Failing such
amicable settlement, any controversy, claim, or dispute arising under or
relating to this MSA, including the existence, validity, interpretation,
performance, termination or breach thereof, shall finally be settled by
informal ord formal mediation. Should mediation efforts be
unsuccessful, the parties may choose arbitration in accordance with the
Arbitration Rules (and if Client is a non-U.S. entity, the International
Arbitration Rules} of the American Arbitration Association (“AAA").
lf arbitration is agreeable to both parties, there will be three (3)
arbitrators (the “Arbz'tratz'on Trz'bunal”), the first of which will be
appointed by the claimant in its notice of` arbitration, the second of
which will be appointed by the respondent within thirty calendar (30)
days of the appointment of the first arbitrator and the third of which
will be jointly appointed by the party-appointed arbitrators within thirty
calendar (30)_days thereafter. The language of the arbitration shall be
English. The Arbitration Tribunal will not have the authority to award
punitive damages to either party. Each party shall bear its own
expenses, but the parties will share equally the expenses of the
Arbitration 'I`ribunal and the AAA. This MSA will be enforceable, and
any arbitration award will be final, and judgment thereon may be
entered in any court of competent jurisdictionl The arbitration will be
held in Houston, Texas, USA. Notwithstanding the foregoing, claims
for preliminary injunctive relief, other pre-judgment remedies, and
claims for Client’s failure to pay for Services in accordance with this
MSA may be brought in a state or federal court in the United States
with jurisdiction over the subject matter and parties.

11.8 Severability. in the event any provision of this MSA is held by
a tribunal of competent jurisdiction to be contrary to the law, the
remaining provisions of this MSA will remain in full force and effect

ll.9 Waiver. The waiver of any breach or default, or the failure to
exercise any right provided herein, will not constitute a waiver of any
subsequent breach, default or right, and will not act to amend or negate
the rights of the waiving or non-exercising party.

ll.lO Assr'gnmem. Client may assign this MSA in whole as part of a
corporate reorganization, consolidation, merger, sale of all or
substantially all of its assets, or transaction or series of related
transactions that results in the transfer of fifty percent (50%) or more of
the outstanding voting power of Client. Client may not assign its rights

or delegate its duties under this MSA either in whole or in part without
the prior written consent of` OMN`IPOTECH, and any attempted
assignment or delegation without such consent will be void.
OMNIPOTECH may assign this MSA in whole or part.
OMNIPOTECH also may delegate the performance of certain Services
to third parties, including OMNIPOTECH’s wholly owned
subsidiaries, provided OMNIP()TECH controls the delivery of such
Services to Client and remains responsible to Client for the delivery of
such Services. This MSA will bind and inure to the benefit of each
party's successors and permitted assigns

ll.ll Norice. Any notice or communication required or permitted
to be given under this MSA may be delivered by hand, deposited with
an overnight courier, or mailed by registered or certified mail, return
receipt requested, postage prepaid, in each case to the address of the
receiving party as listed on the Order Form or at such other address as
may hereafter be furnished in writing by either party to the other party.
Such notice will be deemed to have been given as of the date it is
delivered, mailed, or sent, whichever is earlier.

11.12 Re!ationship of Parrr'es. OMNIPOTECH and Client are
independent contractors and this MSA will not establish any
relationship of partnership, joint venture, employment, franchise or
agency between OMNIPOTECH and Client. Neither OMNlPOTECH
nor Client will have the power to bind the other or incur obligations on
the other’s behalf without the other’s prior written consent, except as
otherwise expressly provided in this MSA,

11.13 Arrr`cle and Section Headr'ngs,' Pronorms,' Plrrral and
angular. The article and section headings herein are for reference
purposes only and shall not affect the meaning or interpretation of this
MSA. Ref`erences to a designated “Article” or “Section” refer to an
Article or Section of diis MSA unless otherwise specifically indicated
All pronouns used in this MSA shall be construed as including both
genders and the neuter. All capitalized defined terms used in this MSA
are equally applicable to their singular and plural forms

ll.l4 Enrire Agreement. This MSA, including all documents
incorporated herein by reference, constitute the entire agreement
between the parties With respect to the subject matter hereof, and
supersede all of the prior agreements and undertakings, both written
and oral, among the parties, or any of them, with respect to the subject
matter of this MSA, Any additional or different terms in _any Order
Form or other response by Client, including purchase orders, shall be
deemed objected to by OMNIPOTECH without need of further notice
of objection, and shall be of no effect or in any way binding upon
OMNIPOTECH.

ll.15 Counterparrs amf Orr`ginals. This MSA may be executed in
counterparts, which together shall constitute a single agreement
Delivery by telephonic facsimile transmission or digital delivery of a
signed counterpart of` this MSA shall be effective as delivery of a
manually signed counterpart. Once signed, any reproduction of this
MSA made by reliable means (e.g., photocopy, facsimile) is considered
an original.

ll.l6 Ame)rdments. This MSA may be amended or changed only by
a written document signed by authorized representatives of
OMNIPOTECH and Client in accordance with this Section ll._l6.

ll.l'i' Interprernrion ofConjlz'cring Terms. In the event of a conflict
between or among the terms in this MSA, the Service Level
Agreements, the Order Forms, Statements of Work and any other
document made a part hereof`, the documents shall control in the
following order: the Order Form with the latest date, Statements of
Work, the Service Level Agreements, this MSA and other documents

 

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The undersigned affirms that they have the authority to enter into this agreement on behalf of the Client and agrees that the OMNIPOTECH Rate
Schedule, Master Services Agreement, Network Service Level Agreement, Order Form(s), and Acceptable Use Policy are incorporated herein.
Authorized representatives of Client and OMNIPOTECH have read the documents listed above and agree and accept such terms effective as of the

date first referenced below.

 

 

 

BENDCO INC
CLIENT:
DocuSigned by:
Signature: l l
. L¢'||‘H:i¢l.b:.
Ke`|'|y Hatcher
Print Name:
, CONTROLLER
Tltle:

 

7/28/2015 l 11:12:26 CT
Date:

 

OMNIPOTECH, Ltd.

Signature: j Kobw+ 0 L‘lSUW

Print Name: Robert D. Kyslinger

Title; Managing General Partner

7/28/2015 | 11:15:21 CT
Date:

 

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Master Services Agreement
Schedule l.i) - Definitions

The following defined terms are equally applicable in their singular and
plural forms:

(l) “Client Registration Form” means the list that contains the names
and contact information (e.g. pager, email and telephone numbers) of
Client and the individuals authorized by Client to enter the
OMNIPOTECH Data Centers or access Client equipment with
administrative or modify credentials, as delivered by Client to
OMNIPOTECH and amended in writing fi'om time to time by Client.

(2) “Client Technology” means Client’s proprietary technology,
including Client’s Intemet operations design, content, software tools,
hardware designs, algorithms, software (in source and object forms),
user interface designs, architecture, class libraries, objects and
documentation (both printed and electronic), know-how, trade secrets
and any related intellectual property rights throughout the world
(whether owned by Client or licensed to Client from a third party) and
also including any derivatives, improvements, enhancements or
extensions of Client Technology conceived, reduced to practice, or
developed during the term of this MSA by Client.

(3) “Initial Term” means the minimum term for which OMNIPOTECH
will provide the Services to Client, as indicated on the Order Forms.

(4) “Notice of Service Commencement” means the written notice
delivered by OMN"lPOTECI-I to Client indicating the Service
Commencement Date.

(5) “Order Form” means any of the forms specifying the Services, and
the term and prices of such Services, to be provided by OMNIPOTECH
to Client that are submitted by Client and accepted by OMNiPOTECH.

(6) “Professional Services” means any non-standard professional or
consulting service provided by OM'NIPOTECH to Client as more fully
described in a Statement of Work.

(7) “Renewal Term” means any service term following the Initial Term,
as specified in Section 2.2 of the MSA.

(B) “Representatives” mean the individuals identified in writing on the
Client Registration Form and authorized by Client to enter the
OMNIPOTECH Data Centers or access Client equipment with
administrative or modify credentials

(9) “Acceptable Use Policy” means the SunGard general Acceptable
Use Policy governing Client’s use of Services, including, but not
limited to, online conduct, and the obligations of Client and its
Representatives in the OMNIPOTECH Data Centers.

(10) “Services” means the specific services provided by
OMN`IPOTECH as described on the Service Order Forms.

(ll) “Service Commencement Date” means the date OMNTPOTECH
will begin providing the Services to Client, as indicated in a Notice of
Service Commencement delivered by OMNIPOTECH to Client.

(12) “Service Level Agreement” is the detailed definition of service
levels that OM`NIPOTECH will provide to Client for a specific Service.

(13) “Service Level Warranty” is described and defined in Section 5.2
of the MSA.

(14) “Statement of Work’1 means the detailed descriptions of the
Professional Services attached to Order Forms.

(15) “OMNTPOTECH Data Center” means any of the facilities used by
OM'N'[POTECH to provide the Services.

(16) “OMNIPOTECH Technology” means OM'NIPOTECH’S
proprietary technology, including OMNIPOTECH Services, software
tools, hardware designs, algorithms, software (in source and object
forms), user interface designs, architecture, class libraries, objects and
documentation (both printed and electronic), network designs, know-
how, trade secrets and any related intellectual property rights
throughout the world (whether owned by OMNIPOTECH or licensed
to OMN`lPOTECI-I from a third party) and also including any
derivatives, improvements, enhancements or extensions of
OMNIPOTECH Technology conceived, reduced to practice, or
developed during the term of this MSA by either party that are not
uniquely applicable to Client or that have general applicability in the
art.

(]7) The terms “written” and “in writing" mean anything reduced to a
tangible form by a party, including a printed, photocopy, facsimile or
hand written document but excluding email or other electronic formats.

(]8) “Business Period” means B:OOAM to S:GOPM Central Standard
Time, Monday~Friday excluding holidays as defined in “Holiday
Period”.

(19) “After-Hours Period” means S:OIPM to 7:59AM Central Standard
Time, Monday-Friday excluding holidays as defined in “Holiday
Period”.

(20) “Weekend Period” means any Saturday or Sunday. Central
Standard Time excluding holidays as defined in “Holiday Period”.

(2]) “Holiday Period’1 means New Year's Eve and New Year’s Day,
Easter, Memcrial Day, Independence Day, Labor Day, Thanksgiving
and the day after Thanksgiving, Christmas Eve and Christmas Day.

(22) “Base Rate" means the discounted hourly rate for work performed
during the Business Period calculated in 15 minute increments with a l
hour minimum charge for on-site service visits.

(23) “Atter-Hours Rate” means the standard hourly rate for work
performed during the After~Hours Period with a 2 hours minimum
charge.

(24) “Weekend Rate” means the standard hourly rate for work
performed during the “Weekend Period” calculated portal-to-portal
with a 4 hours minimum charge.

(25) “Holiday Rate" means the standard hourly rate for work performed
during the “Holiday Period” calculated portal-to-portal with an S hours
minimum charge.

(26) “Overage Rate” means the standard hourly rate for work
performed during the “Business Period” for any time which exceeds the
contracted amount for Retained Services.

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Network Service Level Agreement for

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BENDCO INC

CLIENT:

 

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¢S"*OMNIPOTECH

 

 

This Service Level Agreement (the “SLA") between OMNIPOTECH,
Ltd. (“Oll/INIPOTECH”) and (“Client") is entered into pursuant to
Master Services Agreement (“MSA”) between OMNIPOTECH and the
Client. Capitalized terms used in this SLA and not otherwise defined
below shall have the meanings given tc them in the MSA.

A. Purpose and Scope

The purpose of this SLA is to define managed network service levels
and operational specifications that OMNIPOTECH will provide to
Client for datacenter services Specifics as to the Service(s) (the
“Services") to be provided to the Client are set forth in the Order Form,
which is incorporated into and made a part hereof

B. Service Levels

B.I Marragea'Nefwor/£

OMNIPOTECH Managed Network environments consist of LAN and
WAN infrastructures for the datacenter. OMNTPOTECH Managed
Network environments will be available on a 7 (day) x 24 (hour) x 52
(week) basis, except for Scheduled Outages OMNIPOTECH Managed
Network environments are designed with robust architectures and
production system disciplines to ensure maximum performance and
availability. OMNIPOTECH will continuously employ network
monitoring techniques to track performance levels cf network
components and systems Network latency will be measured by
averaging sample measurements taken every five (5)_ minutes during a
calendar month between WAN nodes for WAN performance and
between LAN nodes for LAN performance Latency measurements will
be total round trip durations in mil|iseconds (ms) of network
transmissions Availability will be calculated monthly using total actual
minutes available divided by total possible minutes available.
Availability calculations will exclude Scheduled Outages for
maintenance and similar scheduled downtime. Perfcrmance
measurements will exclude Client’s collocated network equipment,
Client’s dedicated connectivity solutions and Client Premise
Equipment (CPE). OM`Ni_POTECH will, at OMNIPOTECH expense,
upgrade or improve capacity and performance levels within
OMNIPOTECH Managed Network environments as OMNIPOTECH,
through reasonable commercial judgment determines improvements
are warranted and necessary for availability and performance
attainment All Managed Network modifications will follow the
established change management practices described in this SLA.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

OMNIPOTECH’s performance levels for Managed Network
availability and latency are as follows:
LAN Performance
Latency Availability
5 80 ms > 99.00%
WAN Performance
Public .
Network VPN Private Network
Latency Latency Latency Avail.
5 200 ms 5 160 ms 5 120 ms > 99.00%
C. Remedy

C.l' Remedies

In the event that, as a direct result of OMNIPOTECH’s actions or
inactions, the Service levels provided by OMNIPOTECH fail to meet
the specified performance levels stated abcve, as the sole and exclusive

remedy hereunder, Client shall receive a Service credit equal to 50% of
the Daily Fee for the affected service for the affected month in
accordance with the Order Form for the Service.

Such Service credit(s) shall be deemed to be liquidated damages. This
credit will be in the form cfa cash payment if this SLA has expired or
if it has otherwise been terminated in accordance with the provisions cf
the MSA.

C.2 Excepricns

OMNIPOTECH will have no liability for any failure to provide
Services (a) during any Scheduled Outage, (b) resulting fi'om a Force
Majeure Event, or (c) caused, directly or indirectly, by the acts or
omissions of Client or its employees, agents, contractors or
representatives or by Client’s or its employees’, agents’, contractors’ or
representatives’ equipment, or {d) caused by any outage to the
datacenter network, circuits or equipment, or any circuits or equipment
terminating at the Client cr between the two parties.

Without limiting the foregoing, OMNIPOTECH is not responsible for
acts or omissions of Client or its employees, agents, contractors or
representatives that result in failure of, or disruption tc, the Services
Client agrees that neither Client nor its employees, agents, contractors
or representatives shall attempt in any way to circumvent or otherwise
interfere with any security precautions or measures of OMNiPGTECH
relating to the OMNIPOTECH Data Centers or any other
OMNIPOTECH equipment Any such attempts may, among other
things cause disruption to the Services Any disruption to the Services
resulting from a violation of these provisions shall not be an
Unscheduled Outage and Client will have no right to any Service credit
or other remedy under this SLA or otherwise with respect to such
disruption. Client will be responsible fcr, and will indemnify
OMNIPOTECH for, any damage or service interruptions caused by
Client or its employees, agents, contractors cr representatives in
violation of these provisions including, without limitation, any damage
to any OMNiPOTECH provided equipment Further, the Client will
pay OM`NIPOTECH, at OMNIPOTECH’s then current rates, for all
remedial services resulting from the Client’s actions

C.3 Terminationfor Chronic Problems
The conditions warranting termination of Services applicable to this
SLA, as specified on the Order Fcrm, are as follows:

a) OM`NIPOTECH’s failure to provide Service credits owed to
Client, as specified in the Remedy provision of this SLA, for
two (2) consecutive months.

b) OMNIPOTECH’s failure tc achieve SLA
performance for three {3) consecutive months.

specified

Client must provide OMNIPOTECH written notice of termination for
Chronic Problems and such termination will be effective upon diirty
(3()) days written notice to OMNIPOTECH.

D. Service Level Change Request Proccdures

1E.ither party may request changes to this SLA at any time. Since a
change could affect the fees, schedules or other terms related to this
SLA or the MSA, both the Client and OMNIPOTECH must approve
each change, and this SLA and/or the MSA must be appropriately
amended before implementation of any change. The change request
procedure is as follows:

 

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a) The project manager for the requesting party will submit a change
request (“CR”) in writing. It will describe the change and include
whatever rationale and/or estimated effect the change will have on
the SLA'and/or the MSA.

b) The other party’s project manager will review each CR. The
project manager will weigh the merits of the proposed change and
approve it for investigation or reject it. If rejected, the project
manager will return the CR to the requesting party, together with
the reason(s) for rejection.

c) Approval of a CR for investigation by both parties constitutes
authorization by the Client of any fee proposed by
OMNIPOTECH to investigate the CR. During such investigation,
the effect on the Monthly Fee, Service Term or other terms of this
SLA will be determined Following completion of such
investigation, the requested change will then be approved or
disapproved for implementation

d) Approved changes will be incorporated into this SLA or the MSA
through written modifications, which shall be signed by duly
authorized representatives of both parties

E. Change Management

The Client will be provided at least three calendar (3) days prior written
notice of any changes to be made by OMNIPOTECH that affect the
Services. However, if a shorter notification period is required, changes
will be made with the agreement of the Client. Ol\/l`NlPOTECH will
strive to minimize outages that may be caused by a change; however, in
the event that an outage is required, OMNIPOTECH will use best
reasonable efforts to minimize the impact of the change and schedule
the outage based upon the Client’s and OMN`IPOTECH’s requirementsl
If an outage is required, such outage will be considered a Scheduled
Outage. OMNIPOTECH intends to work with the Client on all change
management issues in order to ensure that the Services are not affected
beyond the levels set forth in this SLA. OMNIPOTECH reserves the
right, however, to proceed with any change if it is determined, by
OMNIPOTE.CH, that the change will not cause harm to the Client’s
specific environment and/or is otherwise necessary. Client is required
to provide prior notification to OMNIPOTECH of any changes to its
configurations that interface with the provided Services, If necessary,
OMNlPOTECH will provide a representative to work with the Client to
address any issues that arise during the Client’s configuration changes

F. Event Notif`ication

OMNIPOTECH shall provide initial notice to a designated Client’s
representative by telephone, e-mail, pager or comparable notification
service within four (4) hours of OMNIPOTECH becoming aware of an

- event that has caused or may cause an Unscheduled Outage. In the

event Client first becomes awin'e of such event, Client shall promptly
provide initial notice to OMNIPOTECH via phone at 281-768-4800 or
the support procedures listed at http://www.omnipotech.com. Status
reports about the event will continue on the hour until either the event
has been resolved or both OMNIPOTECH and the Client have
determined a course of action that does not require continued
notification

G. Definitions

LAN §Local Area Networlq: Those network components and facilities
that are installed within OMNIPOTECH Data Centers providing local
connectivity to installed equipment, and that are owned and managed
by _ the OMNIPOTECH Operations Group and made available to
subscribers of OMNlPOTECH services. ,
Managed Network: The system of LAN and WAN environments
utilized by OMNIPOTECH Data Centers.

MLthllF£; The monthly fee for a Service as set forth in the Order
Form for that Service.

Scheduled Outages: Periods of time, during the Service Term, that
OMNIPOTECH temporarily interrupts any Services for upgrades,
maintenance, or for any other agreed upon reason or purpose, including
an established framework for scheduling and managing such outages.
Service Term: The minimum term for which OMNIPOTECH will
provide the Service to Client as set forth in the Order Form for that
Service.

Unscheduled Outages: Interruptions in Services arising from failures
associated with Services provided by OMNIPOTECH or a Foree
Majeure Event. Such interruptions include only interruptions caused
by matters under OMNIPOTECH direct control and do not include
Scheduled Outages.

OMNIPOTECH Operations Group: The OMNlPOTECH Operations
Group, responsible for the daily delivery and management of Services
provided to the Client. -

WAN [Wide Area Networkl: Those network components and facilities
that are installed at the boundaries of OMNIPOTECH Data Centers
providing connectivity to external or remote networks and made
available to subscribers of OMNIPOTECH services. Any connectivity
owned by Client is excluded from this WAN definition and is the sole
responsibility of the respective telecom provider.

 

The undersigned affirms that they have the authority to enter into this agreement on behalf of the Client and agrees that the OMNIPOTECH Rate
Schedule, Master Services Agreement, Network Service Level Agreement, Order Form(s), and Acceptable Use Policy are incorporated herein.
Authorized representatives of Client and OMNIPOTECH have read the documents listed above and agree and accept such terms effective as of` the

date first referenced below.

 

 

 

 

BENDCO INC
CLIENT:
Docuslgned by:
Signature: l
Ke`| `|y Hatchei"
Print Name:
_ coNTRoLLER
Trtle:
7/28/2015 | 11: 12 : 26 CT
Date:

 

OMNIPOTECH, Ltd.
DocuSigned by:

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Print Name: Robert D. Kyslinger

    

Signature:

Title: Managing General Partner

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Date:

 

 

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